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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

   JOHN DOE,                                           )
                                                       )
                        Plaintiff                      )
                                                       )
                 vs.                                   ) Civ. No. 1:20-cv-02006-JRS-MJD
                                                       )
   The Trustees of Indiana University, et al.          )
                                                       )
                        Defendants.                    )




                 EXHIBIT 2035 - 5/20/2019 OSC Hearing Transcript

                                      FILED UNDER SEAL



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    13            John Doe                 Hearing

    14            May   2 0 I   2019

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                                                                          Page 2

     1                      KELLY FREIBERGER:           Starting the audio

     2       recording.        It is 9:43 a.m.

     3                      WENDE FERGUSON:         Great.      Good morning,

     4       everyone.        This is the meeting of the

     5       administrative panel to hear the case of John

     6       -   and I want to make sure I'm pronouncing your

     7       last name right,          can you say it for me?

     8                      John Doe                    Doe

     9                      WENDE FERGUSON:         Doe

    10                      John Doe                    Doe

    11                      WENDE FERGUSON:         Doe               Okay.      It

    12       is Monday,      May 20th,     2019,    at 9:43 a.m.         My name

    13       is Wende Ferguson,          Senior Associate Director for

    14       Student Affairs in the IU McKinney School of Law.

    15       I am serving as a chairperson for this hearing.

    16                      As a matter of guiding the hearing I'll

    17       be reading from a script at different points

    18       today.        Please note that today's proceedings are

    19       audio recorded.           This audio recording is the

    20       sole,    verbatim record of the hearing and is the

    21   1   property of the university.

    22                       In addition,     we ask that all phones are

    23   1
             turned off in the hearing today.                  So we ask that

    24       both the respondent and complainant please pull

    25       out your cell phones to show an advisor that

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                                                                             Page 3

     1       phones are turned completely off.

     2                    Thank you.          Thank you.        Thank you.

     3       Would all in attendance not serving as an advisor

     4       please introduce themselves for the record?

     5 ,     We' 11 start with the panel members.

     6                    ROBERT YOST:           Robert Yost,         School of

     7       Science.

     8                    JOSE MAGALLON:            Jose Magallon,           Housing

     9       and Residence Life Student Affairs.

   10                     WENDE FERGUSON:             Okay.     And then we'll

   11        go to John        respondent.

   12                     John Doe

   13                     WENDE FERGUSON:             Thank you,       and
   14        complainant Jane        ?

   15                     Jane Doe

   16    1                WENDE FERGUSON:             Thank you,       and then

   17        we'll also go to the investigator.
   18    I
                          GREG KUESTER:           Greg Kuester.

   19                     WENDE FERGUSON:             Great.     I welcome you

   20        to the hearing and appreciate your time today.

   21        Each participating student is afforded the right

   22        under the Indiana University sexual misconduct

   23        policy to have one advisor or support person

   24        present during this meeting.                 Would each -- would

   25        the advisor please introduce themselves for the

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     1     record.

     2                     BRADLEY KEFFER:         My name is Bradley

     3     Keffer from the law firm of Keffer Hirschauer.

     4                     WENDE FERGUSON:       Okay,     thank you.       I

     5     welcome you to the hearing and appreciate your

     6     time today.        Please understand that your role in

     7     this process is limited.             You are permitted to

     8     advise and support your advisee by communicating

     9     with them in a manner that is not disruptive to

    10     the proceedings.         This may include writing notes

    11     and/or whispering to your advisee.
    12                     You will not be permitted to directly

    13     address other participants in today's

    14 ,   proceedings.        Failure to adhere to these

    15     expectations explained here will be considered

    16     cause for immediate removal of an advisor from

    17 ,   the hearing room.
    18                     We also have with us a representative

    19     of the office of student conduct serving as a

    20     coordinator for this hearing.                  Would the

    21     coordinator please introduce themselves?

    22                     KELLY FREIBERGER:         Hi everyone,       my name

    23     is Kelly Freiberger.           I am a coordinator and

    24     hearing officer in the Office of Student Conduct

    25     and I will be coordinating the hearing today.

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                                                                                  Page 5

      1                         WENDE FERGUSON:         I welcome you to the

      2      hearing and appreciate your time today.                             The role

      3      of the hearing coordinator is to aide me as a

      4      chairperson of this hearing,                  including helping to

      5      determine what information is admissible under

      6      IUPUI sexual misconduct proceedings                        --

      7      procedures,           asking questions of involved parties

      8      if necessary,           and assisting with logistical or

      9      administrative needs today.

    10                           The coordinator will also be available

    11       for consultation to the panel during

    12       deliberation.            They will not have a vote in the

    13       outcome of this hearing.

    14                           This is an educational hearing and is

    15       not comparable to a trial.                  The role of the panel

    16       is not to be confused with the roles of either

    17       judge or jury.            This hearing is an informal

    18       proceeding,           it is not bound by legal rules of

    19       evidence.

    20                           The purpose of this hearing is for the

    21       panel to determine whether violations of the IU

    22       sexual misconduct policy and the Code of Student

    23       Rights,           Responsibilities,      and Conduct,             have taken

    24       place in the manner described in the

    25       investigation report and institute a sanction if

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                                                                           Page 6

     1        necessary.

     2                        To make this determination,             the panel

     3        will review the investigation report created by

     4    1
              Greg Kuester,         the information presented by

     5        John        and Jane        and other relevant information

      6       provided today.
      7                       It is my role as chair of the panel to

      8       conduct a fair hearing,            including determining

      9       what evidence is admissible.                If needed,      I will

    10        call upon the hearing coordinator for

    11        consultation or guidance.

    12                        Upon the conclusion of the hearing,                the

    13        panel will move to close deliberations and will

    14        make a decision regarding the outcome of the

    15        case.      You will later be informed of the outcome

    16        of the hearing in writing.

    17                        We will begin the hearing with an

    18        opportunity for John             to respond to the charges

    19        placed by Greg in this case.                John        you will be

    20        asked to indicate whether you are responsible or

    21        not responsible for each alleged violation.

    22                        We will then move to introductory

    23        remarks from Jane           and John            This is an

    24        opportunity to introduce yourselves and your

    25,       position.        It   is not the time to present your

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                                                                               Page 7

     1     whole case.            These remarks should briefly explain

     2     your purpose for being present at the hearing

     3     today.

     4                     Jane      will then have the opportunity to

     5     present any and all              information she feels might

     6 ,   be relevant to this particular case and charge,

     7     and response to the investigation report.                            Jane
     8     you also have the option to state that all

     9     information can be found in the investigation

    10     report and decline to say anything further.

    11                     The pane 1 and John                 will have the

    12     opportunity to ask Jane                  questions.          Neither

    13     John       nor Jane        will ask each other questions

    14     directly.        Rather,       you will each be asked to

    15     write questions down and pass them to me.
    16                     I will then ask the questions out loud,

    17     provided they are relevant and appropriate to the

    18     case at hand.           John         if you need a break to

    19     write questions,           please let me know.               Jane      you

    20     are not required to answer questions from the

    21     panel or respondent.                But I do need to hear out

    22     loud that you do not wish to answer a question.

    23                     When answering questions,                   please keep

    24     in mind that we are audio recorded so we will

    25 ;   need a verbal response and not just a head shake

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      1     or a nod.            John       will then have the opportunity

      2     to present any and all information he feels might

      3     be relevant to this particular case and charge,

     4      and response to the investigation report.

      5                         John        you also have the option to

      6      state that all information can be found in the

      7      investigation report and decline to say anything

      8      further.           The pane 1 and Jane            will have the

      9     opportunity to ask John                      questions,         questions

    10       from the complainant to the respondent will be

    11      handed to --               the same way as questions from the

    12       respondent to the complainant.

    13                          They will be submitted in writing to me

    14       and then I will ask all questions relevant and

    15       appropriate to the case at hand.                        Jane       if you

    16      need a break to write questions,                       please let me

    17      know.        John           you are not required to answer

    18      questions from the panel or complainant.
    19,                         But     I do need to hear out loud that you

    20      do not wish to answer a question.                         When answering

    21      questions,           please keep in mind that we are being

    22       audio recorded so we will need a verbal response

    23 '     and not just a head shake or a nod.

    24                          After Jane         and John        have had the

    25      opportunity to present information and answer

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    1            questions from the panel and each other,                         we will

    2            call         in those witnesses that the panel has

    3            identified for further questioning.                       These

    4            witnesses were identified by the panel in a

    5            prehearing meeting.
     6                             After the panel has had the opportunity

     7           to review the investigation report,                     the panel,

     8          Jane            and John       each have the opportunity to

     9           ask these witnesses questions.                      Once each

   10            available witness has been questioned,                         the panel,

   11           Jane            and John        will have the opportunity to

   12            ask questions of Greg regarding his investigation

   13            report and the information shared in the hearing

   14            today.
   15                              Once all information has been presented

   16            and all answers                all questions answered,              Jane

   17 ,          and John           will each have the opportunity to make

   18            a brief summary remark.                 This is not the

   19            opportunity to restate your full case.

   20                              Rather,     these remarks should briefly

   21            summarize the points you wish the panel to

   22            consider in response to the investigation report

   23            and the information shared here today.

   24     I                        As a final administrative note                      if at

   25            any point today anyone needs a break,                          please let
          I
          l ---- ------   -


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                                                                        Page 10

     1       me know.       We will stop the audio recording and

     2       take a break if anyone needs one.               The university

     3       expects that all information presented here today

     4       is true and correct.

     5                      Please be advised that if anyone

     6       willfully provides false information,                   he or she

     7       may be subject to disciplinary action as

     8       prescribed under the university disciplinary

     9       procedures.
    10                      All participants should be aware that

    11       proceedings are considered confidential under

    12       applicable university policies and federal and/or

    13       state statute.       The panel will be considered in

    14       charges placed by the university regarding the

    15       alleged behavior of John

    16,                     I'm going to read each charge

    17       individually from the Code of Student Rights,

    18   i   Responsibilities,      and Conduct and/or the IU

    19,      sexual misconduct policy.           John        please

    20       indicate after each charge whether you are

    21   1   responsible or not responsible for the alleged

    22       violation.

    23                      KELLY FREIBERGER:        So the charges that

    24       we're considering before you move on are on page

    25       32 of the final investigation report.                    The text

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     1       for each one is written out,                that's why I'm

     2       referencing that page.              So Wende,       go ahead.

     3                     WENDE FERGUSON:           So we'll start with A.

     4                     KELLY FREIBERGER:            Which is Part 2

     5       H20E.

     6                     WENDE FERGUSON:           Section E.

     7                     KELLY FREIBERGER:            Are you responsible

     8       or not responsible?

     9                     John Doe                     Not responsible.

    10                     KELLY FREIBERGER:             Okay.

    11                     WENDE FERGUSON:           And then B,         part 2,

    12       section H21C.       Are you responsible or not

    13       responsible?

    14                     John Doe                      Not responsible.

    15                     KELLY FREIBERGER:            And the last one

    16       actually goes on to page 33.

    17   I                 WENDE FERGUSON:           Which is C,         the IU

    18       sexual misconduct policy UA-03,                  dating violence.

    19       Responsible or not responsible?

    20                     John Doe                      Not responsible.

    21 ,                   WENDE FERGUSON:           Thank you.          At this

    22       time each party may make brief introductory

    23       remarks.      This is not the opportunity to present

    24       your full case.          Rather,     these remarks should

    25       introduce yourself          in full and state your purpose

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      1       for being present at this hearing today.                        Okay.

     2        And we wi 11 start with Jane                   complainant.

      3                      Jane Doe                     I don't wish to say

     4        anything at this time.

      5                      WENDE FERGUSON:           Okay,     thank you.         And

      6       John

      7                      John Doe                        I'm here to defend

      8       against the false allegations that have brought

      9       to the off ice by Jane Doe

    10                       WENDE FERGUSON:            Thank you.         We will

    11        now move the portion of the hearing -- move to

    12        the portion of the hearing where each party will

    13    i   have the opportunity to present their full case

    14        in response to the investigation report.

    15                       After each individual has had the

    16        opportunity to present their information,                       the

    17        panel will be allowed to ask questions of the

    18        individual,      followed by the opportunity for other

    19        parties to ask questions one at a time.                        The

    2o        pane 1 wi 11 now hear from Jane

    21                       Jane Doe                     I listed everything

    22        in the report document.

    23                       WENDE FERGUSON:            Thank you.         Now we'll

    24        have questions from the panel.

    25    I                  JOSE MAGALLON:           Jane       in your report

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    1       you mention about falling in the garage -- or the

    2       laundry room,     excuse me.          And then you went for a

    3 ,     scan.     Could you give me an idea about the range

    4 ,     of motion that you had in your neck at that time?

    5                    Jane Doe                     I went straight back.

    6       And that's what I remember.                   Yeah.

    7   !                JOSE MAGALLON:           Could you turn your

    8       head to the left and right?

    9                    Jane Doe                     Wait,       what?

   10                    JOSE MAGALLON:           When you went for your

   11       CT scan could you turn your head to the left and

   12       the right?

   13                    Jane Doe                     Not completely,             just

   14       hurt to move it at all.             Any which way.

   15                    JOSE MAGALLON:           Jane          so in the report

   16       there was some information about the timeline

   17       when you fell.          And my understanding is there was

   18       a dog inside the house.             Did you fall before the

   19       dog was retrieved or after?                   Remember?

   20                    Jane Doe                     I    fell and then he

   21       got the dog.
   22                    WENDE FERGUSON:            I'm sorry,             can you

   23       repeat that one more time?

   24                    Jane Doe                     Yeah.        I fell and

   25       then that's when he got the dog.
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      1                        JOSE MAGALLON:           Then after you fell and

      2      the dog was retrieved from inside the house do

      3      you remember if you stood up at that point to

      4      lock the door or what happened immediately after

      5      that,      after you fell?

      6                        Jane Doe                     I was down on the

      7      ground for a while.                And eventually I got up.                 By

      8      the time I got up he was gone.                       Yeah.

      9                        JOSE MAGALLON:           And then right before
    10       you fell,         was the door -- not the actual garage

    11       door that faces the outside but the one that's

    12       inside the garage that leads you into the house,

    13       before John            came in,       did you -- was that door

    14       locked or was that door shut?

    15                         Jane Doe                     I had locked it and

    16       then he was          -- kept banging on it and so then I

    17       opened it.

    18                         JOSE MAGALLON:           I don't have further

    19       questions.

    20                         ROBERT YOST:          So Jane        you --     just for

    21,      clarification.               So the door that we're talking

    22       about going into the laundry room,                       you unlocked

    23       it to allow John                to come back in?             Or can you

    24       just help me fill in that part about this door

    25       locking?

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      1                            Jane Doe                     Which --      so he had

      2       been hitting and banging on the door because it

      3       was locked because I locked it right after he

      4       left and then he kept banging so I                          finally opened

      5       it.

      6                            And then that's when he came in and I

      7       was standing in front of the laundry door and

      8       that door was just shut,                    it was like a regular

      9       door,       just shut.            And that's when he came through

     10       and shoved me through it.                      And yeah.

     11                            ROBERT YOST:          So not to make you repeat

     12       things,            but   --

     13                            Jane Doe                     Yeah.

     14                            ROBERT YOST:               so when you fell over,

     15       was that when John                    was coming back in or when

     16       John          was going back out?

     17                            Jane Doe                     Yeah,    he   --   I opened

     18       the door and that's when he came through,                               shoved

     19   1
              me,     and then went to get                      I'm -- he went to get

     20       the dog.             Or something,         yeah.        Because I remember

     21   1   hearing him like,                 leaving but I couldn't get up

     22       at that point.

     23                            ROBERT YOST:          So you were already down

     24       when he was leaving,                  when John           was leaving?

     25                            JOSE MAGALLON:           Ask a clarifying

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      1      question.               And then the damage to that wooden

      2      door frame

      3                         Jane Doe                      Yeah.

      4                          JOSE MAGALLON:           Do you remember the

      5      timeline in terms of what caused that damage to

      6      the frame?

      7                         Jane Doe                      It was when he pushed

      8      me through the door.                  Because the door was shut

      9      and I       just remember like,              on my back and -- yeah,

    10       I didn't           --    like it was      -- when I got up and

    11       everything I saw the door being cracked and

    12       obviously that's bad.

    13                           JOSE MAGALLON:           Thank you.

    14                           WENDE FERGUSON:           Any other questions

    15       from the panel?

    16                           ROBERT YOST:          Just one.        Continuing

    17       with the doors for clarity's sake.                           What is your

    18       recollection about the garage door,                          how it ended

    19       up being partway open?                    Did you see any of that?

    20                           JaneDoe                      He was    -- he just

    21       banged and kicked at it.                     I could just hear him

    22       banging at it and                    yeah.

    23                           ROBERT YOST:          This is the overhead door

    24       you're talking about,                  that's the one I'm -- yeah.

    25                           Jane Doe                     The one that comes

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      1       up,   yeah.

      2                         ROBERT YOST:          Okay,    thank you.        No

      3       further questions.

      4                         JOSE MAGALLON:           No further questions.

      5                         WENDE FERGUSON:           Okay.       Now we will

      6       move to questions from John                          and these have to

      7       be submitted in writing.

      8                         Jane Doe                     Yes.

      9                         John Doe                      There's questions on

    10        the front for Jane               and the questions on the back

    11        for the witness.

    12                          WENDE FERGUSON:           So what we'll need --

    13                          John Doe                      Want me to translate

    14        it into this?

    15                          WENDE FERGUSON:           Yes.

    16    I                     John Doe                      I'm going to need a

    17        moment.

    18                          WENDE FERGUSON:           Yep,      so then what

    19        we'll do is we'll take about a five minute --

    20                          John Doe                      That should be --

    21        I'll do this as neatly as possible.

    22                          WENDE FERGUSON:           And if it's not neat

    23        I'll ask for clarification to make sure it's

    24        right.           Take a five minute break.

    25                           KELLY FREIBERGER:            Okay.      So it is

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      1      10:01,       we're going to take a brief break.                                  We'll

      2      escort you all to the offices that you were in

      3      earlier.             So I'm going to pause the recording at

      4      this time.

      5                           (Break)

      6                           KELLY FREIBERGER:                     So we're starting

      7      the recording again.                        It is 10:58.

      8                          WENDE FERGUSON:                   All right.            We are at

      9      the portion of the hearing where the                                       -- we will

    10       have questions from John                              that were submitted to

    11       the chair to Jane                         the complainant.                 And so I

    12       will start with question number one from the

    13       respondent to complainant Jane                                                John

    14       asks have you had any verbal or physical contact

    15       with John                 since you told him via email to never

    16       contact you again?

    17                           Jane Doe                             No.

    18                           WENDE FERGUSON:                   No,          okay.   And then

    19       did you report any conduct that you are alleging

    20       in this report to any local law enforcement?

    21                           Jane Doe                             No.

    22                           WENDE FERGUSON:                   And we want to make

    23       sure that you're loud enough that the recording

    24       can hear you.                     Okay.    How long after the event at

    25       your father's house did you see John                                         in person?
                      ----- --- ------ - - -    ----     ----- ------- ------   -



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      1                        Jane Doe                     I think it was a few

      2      days.

      3                        WENDE FERGUSON:           A few days?

      4                        Jane Doe                     Mm hmm.

      5                        WENDE FERGUSON:           And did you let          - -



      6                        Jane Doe                     I'm sorry,        I just

      7      remember.          He had came over that morning to pick
      8      up his phone and whatever else he left when he

      9      left then.

    10                         WENDE FERGUSON:           Okay.       Did you let

    11       John         meet your daughter after the incident at

    12       your father's house?
    13 '                       Jane Doe                     Yes.

    14                         WENDE FERGUSON:           Yes.      And then there's

    15       a --     is that      --

    16                         John Doe                      (indiscernible).

    17                         WENDE FERGUSON:           Okay.       Did you let

    18       your daughter stay at John                           house after the

    19       alleged event and how long after the event                                 if

    20       so,    how long after the event did that occur?

    21                         Jane Doe                     Yes,    and I'm not sure

    22       how long it was.

    23                         WENDE FERGUSON:           Okay.       Do you recall

    24       deleting pictures of John                      and John, s         dog from

    25       your Instagram account the night and/or early

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    1       morning of the alleged incident at your father's?

    2                    Jane Doe                     Yes.     I don't know

    3       when it was,      but.     They're not on there.

    4                    WENDE FERGUSON:           Okay.       Did you go to

    5       the hospital or summon an ambulance the night of

    6       the alleged incident at your father's house?

    7                    Jane Doe                     Yes.

    8                    WENDE FERGUSON:           You did,      okay.      Why

    9       did you not disclose the hospital report

   10       including the ER notes to the investigator to be

   11       included as a part of the report?

   12                    Jane Doe                     I just felt like all

   13       this kind of took so much out of me I didn't want

   14       to go through anymore to track down records and

   15       all that.     I   just wanted to do my part because I

   16       feel like this will help other women,                      it's less

   17       about me at this point.             I just want him to get

   18       help again.       Yeah.      I don't want to battle,              I

   19       just ...

   20                    WENDE FERGUSON:            Thank you.         And then

   21       the last question is did you have another place

   22       to stay besides staying at John                      throughout

   23       your relationship.

   24                    Jane Doe                     Yeah.

   25                    WENDE FERGUSON:            Yes,     okay.     Any other
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                                                                                   Page 21

     1       questions?       At this time we'll move to hearing --

     2       the panel will hear from John                         and this is your

     3       presentation of information.

     4                      John Doe                      Good morning.               This

     5       process has been very stressful                     for me and I have

     6       prepared a statement that I would like to make

     7 ,     and I may need to read parts of it because I am

     8       nervous.        If you told me one year ago that my

     9       entire relationship would be the centerpiece of

    10,      an institutional investigation I would have not

    11 '     believed you.

    12                      But today we are here to review,

    13       compare,       and analyze the intimate details and

    14       events that occurred in a private relationship

    15       that lasted from October 2017 to October 2018.

    16   I                  During that time,            Ms.    Doe                 and I

    17       engaged in a consensual,              loving,         tempestuous,          and

    18       not particularly healthy relationship while

    19       completing our first two years of the most

    20       formidable schooling that we have ever

    21       experienced.
    22                      Despite the consistent stress and the

    23       demanding schedule,           Jane      and I made plans to

    24       pick out rings to get married,                    name our children,

    25       and open up a medical practice all in the name of
                                                               -----   --- - - -



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     1    what we thought was love.             This was all very new

     2     to me.

     3                    I had never been engaged,              never had a

     4     child,    I never truly dove into the realm of

     5     solidifying a future with someone.                    But I felt at

     6     the time that my life was finally starting to

     7     come together.

     8                    When I was accepted to medical school                  I

     9     was elated.       I have prior degrees but getting my

   10     MD has always been my dream.               In July of 2017 I

   11      left Florida with everything I had and became a

   12      Hoosier.

   13                     During the first few weeks              I was

   14      inundated with a new city and a group of students

   15      who were mostly fresh out of undergraduate

   16      studies.       It wasn't long before I noticed that

   17      there were not too many students who had taken a

   18      nontraditional route to medical school and were

   19      on the older half of 30.

   20                     But when I met Ms.        Doe

   21      everything started to make sense.                 It felt almost

   22      like a dream.        I was studying to be a physician

   23      and now I had met someone who seemed beautiful,

   24     brilliant,       and adventurous.

   25                     Within just one month,          Jane       had moved

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                                                                             Page 23

      1       into my apartment and we were spending

      2       Thanksgiving in Nashville together.                     Within two

      3       months,       Jane     came to Florida to meet my family

      4       and celebrate Christmas and New Year.

      5                         Soon thereafter,       our relationship got

      6       more intense.           There was discussion of being soul

      7       mates and building a family together.                        To jump

      8       start our family,           we added a dog and a cat and

      9       then organized a trip through Italy and Greece

    10        during the summer of 2018.

    11                          The relationship was fast moving and at

    12        times it was intimidating.                  With the added stress

    13        of medical school           it was difficult to assess that

    14        Jane       and I's attraction to one another was in

    15        fact mistaken for compatibility.

    16                          By September and October of 2018 it was

    17        clear to me that I would need assistance in

    18        assessing this relationship and guidance on how

    19        to set boundaries in a relationship that seemed

    20        to be subject to her whims.

    21                          I took advantage of services at the

    22        school of medicine and began speaking with a

    23    i   therapist.            It was immensely helpful.              And during

    24        my conversations with the therapist I                        learned

    25        that Jane            and I's relationship was not only

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                                                                          Page 24

      1       unhealthy but it had components to it that were

      2       both toxic and immature.

      3                        Around October 19th,          2018,    working with

      4       my therapist,        we devised a conversation and a

      5 ,     plan to help end the relationship.                     And I did end

      6       it with Jane         shortly thereafter.           Less than one

      7       week later,        the allegations that have brought us

      8       here today were reported to the Dean of Students

      9 '     at the medical school.

    10    !                    This has been an experience.              I have

    11        dated a number of women before I came to medical

    12        school but I have never dated anyone like Jane

    13        I've also had -- never had any issues in any

    14        prior relationships where I was accused of

    15        mistreating a girlfriend or had any conduct that

    16        can be interpreted as aggressive or abusive.

    17                         I know this process does not permit

    18        character witnesses,         but I would provide the

    19        panel,      and I have provided the investigator,                with

    20        names of previous girlfriends who can confirm my

    21        claim.

    22                         After having the benefit of looking

    23        back over our relationship,              I can acknowledge

    24        that the relationship was stressful and took

    25        place during a stressful time.                  The pressure of

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     1      medical       school,      the novelty of cohabitating and

     2      caring for animals together,                  the stress of an

     3      abortion,            along with our stubborn personalities

     4      would cause conflicts and arguments.

     5                           Often fueled by alcohol,         most of our

     6      disagreements grew from perceived slights and a

     7      focus on self-devotion rather than self-

     8      sacrifice.             In defense of myself and often my

     9      family,          I   felt the need to hold a candle to some

    10      of the more unappealing qualities of Jane's

    11      personality.
    12                           Although I'm not proud of what the --

    13      some of my comments,             they were ways of defending

    14      myself against equally harsh words and rhetoric

    15      from Jane               I want to be clear about one thing -

    16      - other than the accident in Jane's                      father's

    17      house,        I never hit,     pushed,       or touched Jane

    18      aggressively or with any intent to hurt her,                         and

    19      I never hurt her.

    20                           There was no physical violence on my

    21      part directed at Jane                  At times she drank

    22      excessively,            we both did sometimes.           But there

    23      were     --      and there were a couple occasions where

    24      she hit me.             And one time she threw a flowerpot

    25      at me.        But I never did hit her back or was in

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                                                                        Page 26

     1     any way physically violent with her.

     2                      This process has been extremely

     3     stressful and difficult.               Becoming a doctor is my

     4     dream.          I have worked for years toward this

     5     dream.      But these proceedings and Jane's

     6     allegations have been so upsetting at times I

     7     have been unable to focus.

     8                      Not only was I removed from campus in

     9     January of 2019,         three months after her initial

    10     report and six months after her last allegation,

    11     but I was forced to delay my boards.

    12                      However,   I am not the only one who has

    13     struggled with this process.                 My entire family

    14     has been a part of this since the beginning.                          The

    15     only two people who understand this relationship,

    16     the only two people who lived through it,                      were

    17     Jane     and I.

    18                       I have theories for why these

    19     allegations may have been made,                  but they are only

    20     theories.          I believe that Jane           is very hurt

    21     because this relationship ended on the hopes of

    22     it once lasting forever.

    23                       I believe Jane       finds it much easier to

    24     exist and avoids embarrassment without me in her

    25     environment.          And I feel that this process has

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                                                                              Page 27

     1      given her the distance from me that she wants out

     2      of hurt.          And possibly to avoid the memories of

     3      our failed relationship and all the                         personal      --

     4      personally significant events that were part of

     5      it.

     6                        We did coexist for many months.                    After

      7     these allegations were made we have not

      8     interacted in any way since her birthday on

      9     October 25th,            2018,    before I was even informed of

    10      these allegations.

    11                        Jane     and I continued to study and go

    12      to class without any contact and we continued to

    13      coexist without any issues despite her spreading

    14      gossip and talking openly about this matter

    15      around the class.

    16                         I have never             I had never responded

    17      and I have never made any attempt to retaliate

    18      because,          though the students had preconceived

    19      notions of who I was based on the gossip,                           the

    20      opinions of the deans and administrators of                            IUSM

    21      and this panel are more important.
    22                         I came here to Indiana with experience

    23       in business and entrepreneurship and had plans of

    24      obtaining a dual MBA/MD degree.                       My plans have

    25      not changed.             Aside from a traffic ticket I have

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                                                                        Page 28

    1       never been in trouble with the law.                   I have never

    2       been arrested or accused of anything of this

    3       sort.

    4                         I am the class treasurer for the class

    5       of 2021 and an active member of my student

    6       community.          I have been 100 percent compliant

    7       with this process and have adhered to each and

    8       every recommendation the school has made.

    9                        Despite existing in classes with Jane

   10       for months after our breakup and after she had

   11       made her initial report,            when asked by the

   12 ,     school,      I    studied independently and away from my

   13       cohort so that the no contact order could be

   14       maintained while this matter was pending.

   15   i                     I was told I had to uproot and leave my

   16       apartment         in downtown Indianapolis and study in

   17       West Lafayette at an IUSM regional campus.                      And

   18       I,    of course,      complied and studied there without

   19 ,     issue.
   20                         Since January I have become a home

   21'      learner,         prohibited from attending and utilizing

   22       the resources of this campus,               and I have it all          -

   23       -    and I have done it all respectful of the school

   24       and this process.

   25                         This is medical school and it is

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                                                                             Page 29

     1     supposed to be the culmination of my academic

     2     career.         While I know I have violated no

     3     university policy nor abused Jane                          I have taken

     4     this process very seriously.

     5                      From taking a lie detector test to

     6     providing embarrassingly personal details about

     7     my personal          life,     I have fully cooperated with

     8     this investigation.                I have handed over STD

     9     testing information to verify my version of

    10     events and even provided correspondence from my

    11     therapist as part of this investigation.

    12                      I   intend to continue that cooperation

    13     today and to answer any question that this panel

    14     might have in the hope that you will see that I

    15     have not engaged in any misconduct.                         I believe

    16     you have been provided all the materials,                           and I

    17     know there is a lot of information.

    18                      I won't go through all the details but

    19 ,   I'd like to point your attention to page 31 of

    20     the final report.               I agree with the undisputed

    21     facts found by the investigator.                        I understand

    22     that this hearing boils down to deciding whose

    23     version of the five disputed facts you believe.

    24                      So on page 31 there's two nights.                      June

    25     8       June 2018,       the argument in Italy.                  Whether

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                                                                              Page 30

      1      or not I was physical with Jane                      resulting in a

      2      bruise to her face             --    I    was not physical with her

      3      and there was no bruise.                    I provided photographs

      4      to support these facts.                    Whether Jane         struck me

      5      during this argument                --    she did strike me two

      6      times and she admitted to pushing me.

      7                         Whether Jane           threw a flowerpot at me

      8      during this argument.                    As she calmed down and I

      9      was getting into the bed next to hers,                          she threw

    10       a flowerpot that was on her nightstand and I

    11       provided a picture of this flowerpot in the

    12       appendix --             that can be found in the appendix,                 at

    13       my head,          and when my back was facing her,                 and the

    14       flowerpot broke into pieces as it hit the wall.

    15                           The other night that's in question,

    16       disputed facts,             July 2018,       the argument at

    17       Jane              father's house.          Whether I intentionally

    18       struck the garage door with intent to damage it.

    19       I   did not intentionally damage the garage as I

    20       tried to make it under the closing door.

    21                           I   had the garage code and I could have

    22       used it to open the garage,                   but instead I thought

    23       I had enough clearance to make it under.                           The

    24       inside door was locked and closed so there was no

    25       way Jane            could have seen what happened.                 Nor if

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                                                                               Page 31

      1      you look at the picture of the door that Jane

      2      has provided are there dents consistent with

      3      being punched or kicked.
      4 '                       Whether --      the other question is

      5      whether I          intentionally struck Jane               causing her

      6      to fall backwards.                It was accidental contact and

      7      I never intended to make contact with her to

      8      cause her to lose her balance.

      9                         That night there was drinking involved,

    10       and Jane            the woman I had been discussing

    11       marriage with,              told me for the first time that

    12       she had a close relationship with her child.                               I

    13       was frustrated that she had not told me before

    14       and we both said some unkind things.

    15                          When she asked me to leave,                  I walked

    16       out and only remembered that I had left my dog

    17       inside after I was on the driveway.                        That was

    18       when I tried to make it under the closing garage

    19       door.       Jane          unlocked the door,         I got my dog,         and

    20       I had no leash.

    21                          Jane      wanted me to hurry up and I

    22      wanted to leave so I had to pick him up.                             At the

    23 ,     time he weighed around 50 pounds.                       And as I was

    24      walking out with a squirming dog in a small space

    25       trying to get out the door,                    we bumped into each

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                                                                           Page 32

     1       other.
     2                      This investigation has come to a point

     3       where the panel must make a decision based on the

     4       credibi 1 i ty of Jane          and me.       As of recent,          the

     5       university accidentally provided me with access

     6       to unredacted material that revealed the serious

     7       false accusation that I had not been made aware

     8       of at the time it was made.

     9                      KELLY FREIBERGER:            Excuse me --        I will

    10       say that that information is redacted and the

    11       panel has not seen that information.
    12   I                  John Doe                      I'd still like to go

    13       forward.

    14                      KELLY FREIBERGER:             That's your

    15       decision.

    16                      John Doe                      So again,       as of

    17       recent,    the university accidentally provided me

    18       with access to unredacted material that revealed

    19   1   a serious false accusation that I had not been

    20       made aware of at the time it was made.

    21                      Jane       told the investigator back in

    22       January that I had brought my gun to school in my

    23       backpack on multiple occasions.                   I have my gun

    24 ,     license and have always followed the law with my

    25       gun and in accordance with the utmost safety

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      1           precautions.
      2                        I was never given a chance to respond

      3           to this allegation but I would like to make a

      4           statement right now that I never brought my gun

      5           to school and never would.                I am appalled that

      6           Jane     has made this allegation and that the

      7           university has never given me a chance to

      8       1   respond.     This is such a serious,                false

      9           allegation,    especially in the light

    10                         WENDE FERGUSON:            So John               I want to
    11            make sure that      --    and I want to give you the

    12            opportunity to make your statement,                    but I want to

    13            make sure that this statement is relevant to the

    14            case.

    15                         John Doe                        It is.

    16                         WENDE FERGUSON:           And the case is those

    17            before       we went over in the statement,                    we

    18            talked about the charges that were given to you.

    19            And in none of those charges were we talking

    20    1
                  about what you' re talking about in your statement

    21            at the time.
    22    I                    And what you're talking about,                    the

    23            panel has no recollection of that and so all

    24            what you're bringing in your statement is all new

    25            information,     and we do not          --    if you want to

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                                                                                 Page 34

     1        bring new information up to the panel,                           there is a

     2        way that you can go about doing that.                            And that's

     3        not through the statement.

     4                         John Doe                       Over the weekend my

     5            advisor sent     some information over to general

     6            counsel at IU with this information that I'm

     7            about to bring forward,            due to the realization

     8            that new evidence had been held from me and I

     9            wanted to make sure that I got everything in.

    10        And Sarah Dickey was also forwarded this as well.

    11 '                       KELLY FREIBERGER:              So that information

    12            was not shared with the panel.

    13   :                     John Doe                       Okay.

    14                         KELLY FREIBERGER:              So I just want to

    15            make sure you're aware of that.

    16   '
                               WENDE FERGUSON:              And so that's why I'm

    17            telling you,     you're presenting new information to

    18            the panel and so I as I was saying before,

    19            there's a way that you can or cannot present new

    20            information to us.           That is not through this

    21            statement.     And so if you want to bring new

    22            information to the panel             --    is that something

    23            that you want to do?

    24                         John Doe                       Yes.

    25                         WENDE FERGUSON:              Okay.     So then we have
         I
         [ ____

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     1      to have a conversation about               --    the coordinator

     2      and I,        about whether that information -- and the

     3      panel members        -- whether that information should

     4      be brought to the attention of the panel.                        So

     5 i                     KELLY FREIBERGER:         Should we take a

     6      break?

     7                       WENDE FERGUSON:       Yeah,      let's take

     8      another break.

     9                       KELLY FREIBERGER:         So it is         11:16,    we

    10      are going to take another break.                   If you could

    11      mark where you were in your statement so you

    12      don't lose where you were and we'll escort you to

    13      the appropriate places,            okay.        Greg,   could you

    14      take     --

    15                       GREG KUESTER:      Yep.

    16                       KELLY FREIBERGER:         Okay,    I'm going to

    17      stop the recording.           It's 11:16.

    18                       (Break)

    19                       KELLY FREIBERGER:         All right,         yes,

    20      thank you.         I am starting the audio recording,                      it

    21      is   12:42.

    22                       WENDE FERGUSON:        So during our break

    23      there were a few things that we want to note back

    24      on our return.         One being the status of the

    25      complainant.         So during the break,           the

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      1       complainant did leave and that was around 20

      2       minutes ago.                             And so do you want to speak about

      3       the status of what you all did to contact?

      4                                       KELLY FREIBERGER:              Yes.     So I've

      5       checked a couple times to see if the complainant

      6       had returned to the office that she was

      7       utilizing.                              She has not.       I did call her and --

      8       did not pick up so I left a voicemail and let her

      9       know that we were ready to proceed with the

    10        hearing and that we would appreciate her

    11        continued participation.

    12                                        But I have not heard back from her.                        So

    13        if she returns,                             I do have my phone where I'm

    14        still communicating with our front office staff,

    15        and so if she does return then I will be notified

    16        so that we can pause and bring her into the room.

    17                                        WENDE FERGUSON:             Okay.     Then the other

     18       piece of information for the recording and for

     19       the panel members was about the new information

    20        that was presented by the respondent during his

    21        statement.

    22                                        And so over the break we had

    23        conversations about the new information and it

    24        was decided that the respondent will continue

    25        with the statement in regard to the redacted
              ----- ------ --   -   --- - - -- ----   - ---

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                                                                          Page 37

     1       information,      but no further new information will

     2       be brought up during this case.                  Okay.
     3   I
                           John Doe                      Okay.

     4                     WENDE FERGUSON:           And so now we will

     5       continue with the presentation of information

     6       from John

     7                     John Doe                      Okay.     I want to

     8       take a moment and just apologize to everyone for

     9       delaying this.           This is something that's very

    10       important to me,          I'm here defending what I

    11       consider my entire career,              my entire life that

    12       I've worked for.

    13                     So if I come off frustrated,                  sometimes

    14       I'm going to be.           But   I want to make sure it's

    15       clear that I apologize for that and I meant no

    16       reason to delay this at all.                 I'm going to

    17       continue reading until what we just talked about,

    18       I will not bring up any new information.

    19                     KELLY FREIBERGER:             Thank you.

    20                     John Doe                      I will continue with

    21       I think what was the last sentence that I had

    22       made about the accusation of the firearm.                       I am

    23       appalled that Jane            has made this allegation and

    24       that the university has never given me a chance

    25       to respond.

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     1                                       This is such a serious false allegation

     2        especially in light of the nationwide problem we

     3        are experiencing with shootings in schools.                                     This

     4        had made me realize that Jane                                is intent on doing

     5        real damage to me.                        I am very concerned that this

     6         false allegation has colored the way in which the

     7         school has responded during this process.

     8                                       In response to this recent allegation

     9         to protect myself,                     my advisor contacted general

   10          counsel at                     IU and provided them with the list of

   11          information that                     I will not mention in this

   12         hearing but                      I thought would be relevant and

   13          considered by the panel.

    14                                       It was never my intention to bring this

    15         information forward because it is very personal

    16         and I learned it through an intimate relationship

    17        with Jane                         But with this recent development I

    18         find it extremely important to give evidence of

    19         information that undermines Jane's                                credibility

   20         because of the serious charges she is making and

   21          the very serious consequences that could flow

   22          from these proceedings.

    23                                       I'm sorry for           I'm just going to skip

    24         over this material that we talked about

    25          (indiscernible)                      I don't     feel good bringing up
         i ---- - - ------ -   - -----· --


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                                                                          Page 39

     1     these issues,      but    I understand that this is a

     2     confidential proceeding and expect that this will

     3     be handled --      this    information will be handled

     4     with the utmost confidence.

     5                    I do not want to hurt Jane                    but I also

     6 '   need to protect myself.            I am very willing to

     7     answer any questions and provide any more
     8 ,   information that could be            --     that could help you

     9     make a decision.          Thank you.

   10                     WENDE FERGUSON:        Thank you,         John

   11      Now we'll move to questions from the panel to

   12      John

   13                     JOSE MAGALLON:        John           I know you've

   14      provided some information during some of your

   15      meetings.       And so I just had similar questions to

   16      what I had of Jane             On page 10 of the final

   17      investigation report you mention that you walked

   18      back through the door,          it had been locked so you

   19      knocked on the door and then it wasn't after your

   20      -- you had retrieved the dog that the co--

   21      collision happened between you and Jane

   22                     When we asked Jane            a similar question

   23      as how did like --         the collision happened as you

   24      were walking through the door to retrieve the

   25      dog.     Could you help me understand the

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                                                                          Page 40

     1    discrepancy there?

     2                     John Doe                      I'm not sure what

     3    Jane's          remembrance is,        that's       -- whatever she's

     4    told the panel          is I guess how she remembers it.

     5    But what happened was I had picked up my dog and

     6    to exit the house I had Nero,                   who's a 50 pound

     7    puppy --         or he's a dog,        in my arms and we were

     8    walking.         And I was walking back in a small area.

     9    Jane     was in front of the laundry room and we

   10     knocked into each other.

   11                       JOSE MAGALLON:          And so to clarify,          the

   12     bumping happened only after you retrieved the

   13     dog.

   14                      John Doe                     After I retrieved

   15      the dog.

   16                       JOSE MAGALLON:          Not when you were

   17     walking back in.

   18                      John Doe                      No    (indiscernible)

   19                       JOSE MAGALLON:          Okay.      And then you

   20     mentioned a couple times in different parts of

   21      the report,        so on page 10,         you know,      as you were

   22      discussing you mentioned that you did not see her

   23      fall.     And then on page 92 of the appendix at the

   24     very bottom,         last paragraph -- as I was passing

   25     Jane      in the hallway leading towards the garage

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                                                                          Page 41

     1     we collided.         Jane      fell back towards the door to

     2     the laundry room which was directly behind her.

     3                     And then on page 157 during your

     4     meeting with the investigator,                     towards the very

     5     bot tom of the notes,            it says John           saw Jane

     6     stumbling backwards but did not see her fall

     7     down.      Could you help me understand the different

     8     statements on -- do you remember seeing her fall?

     9                     John Doe                      No.     When I say fall

    10     backwards,       after we had collided what happened

    11     was I     saw her stumble or fall back but I never

    12     saw her fall and hit the ground,                     I never saw what

    13     --   she do what claimed happened in that laundry

    14     room.      What happened was we collided and that was

    15     her stumble or fall backwards but I never saw her

    16     actually leave the ground and fall.

    17                     JOSE MAGALLON:           Sure.      And then you

    18     mention going back then after you took the dog

    19     back out to the car and then you returned back to

    2o     - - you mentioned to check up on Jane
    21                     John Doe                      Yeah.

    22                     JOSE MAGALLON:           Could you maybe share

    23     what you were going back to check up on her?

    24                     John Doe                      Well,    I knew she had

    25     stumbled backwards and I felt like I had left

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                                                                               Page 42

      1     that house in kind of like a way that                            I didn't

      2     want to leave,             I didn't want to have that kind of

      3           I guess        --   I don't know.

      4                         So I went back to go check up on her

      5      and the door was locked.                   I assume that the door

      6     was locked because she locked it.                        And I assumed

      7      that she was okay and that's when I left.

      8                         JOSE MAGALLON:          And then my last

      9      question,          in terms of the damage,              I think you

    10      have pictures somewhere to that door frame.                              Do

    11      you have any information that you can share with

    12      us recalling what might have happened to that

    13       frame?           On page 12.

    14                         John Doe                      She stumbled

    15      backwards towards the door and I don't remember

    16       exactly -- you're talking about the garage door

    17       or the door frame?

    18                          JOSE MAGALLON:          The wooden door frame.

    19                         John Doe                      Yeah,    I'm not sure

    20       about this,          how that happened.              But Jane       fell

    21      backwards towards the door.                      I don't remember

    22       seeing her hit the door,                 so I'm guessing maybe

    23       that was from that,              but I don't know.

    24                          JOSE MAGALLON:          Okay.      No further

    25       questions.

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                                                                            Page 43

     1                       ROBERT YOST:         John      what was your logic

     2      behind offering to pay for the damages to the

     3      property?

     4                       John Doe                     She was my

     5      girlfriend.          Jane      and I had spent a lot of time

     6      together,        she had lived at my place,               she had used

     7      my car.          I had helped her financially for the

     8      whole year we were together.
     9                        I knew her father and her have sort of

    10      a contentious relationship and what I did,                         you

    11      know,     was help pay for as much as I could

    12      whenever I could.              But because I'm also a student

    13      I was limited.

    14                       But Jane         you know,         never paid for

    15      electric or anything at the house and I never

    16 ,    asked for it because I never thought it was                          --   I

    17      believed that I should have taken care of the

    18      bills and that's what I did.                    I also felt bad

    19      that she had been injured during all this.

    20                       ROBERT YOST:          So to kind of follow up

    21      on my colleague's questions.                    There does seem to

    22      be another,         what I'm perceiving to be another

    23      a disagreement in the information we have in the

    24      packet.          In one case you supposedly fell and hurt

    25      your thigh,         in another case you supposedly ran

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                                                                             Page 44

     1      into the garage door.               Which of those is true?

     2                      John Doe                      I was running back

     3      towards the garage and I collided with the garage

     4      door and I       fell down.         I went to go sneak under -

     5      -   and if you can think of a limbo,                   and I struck

     6      my right thigh,            and if I had -- go back in time I

     7      would show you that the bruise aligned from the

     8      garage door on my leg.

     9                      ROBERT YOST:          That must have been quite

    10      a collision.

    11                      John Doe                      It was.          I assumed

    12      that I had enough clearance and enough time to

    13      get under the garage.               I had the garage code,

    14      there was no reason for me to damage the garage

    15      door.

    16                      ROBERT YOST:          So if you're as concerned

    17      about Jane        as you would want us to take away

    18      from this,       why weren't you a little bit more

    19      concerned as to what happened to her when she

    20      fell back in that room,               or potentially fell back

    21      in that room?

    22                      John Doe                      I was concerned.

    23                      ROBERT YOST:          Did you follow up with

    24     her at all about it,              you went back?

    25                      John Doe                      My phone was left at

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                                                                           Page 45

     1     her house that night.               I went back when the door

     2     was locked and open.               I didn't see her fall,              I

     3     didn't see her hit the ground or anything like

     4     that.      I knocked into her,            we knocked into each

     5     other,     I left,     and when I came back the door was

     6     locked.

     7                     My phone was at her house so I had no

     8     way of contacting her at all until the next day

     9     using an iPad.             Using a totally different

    10     resource.        I had to return to her house and

    11     that's when I         saw her the next day to get my cell

    12     phone and my belongings that were there.                          So

    13     Jane      had reached out to me but I couldn't

    14     respond because I didn't have my phone.

    15                     ROBERT YOST:          How hard would you say

    16     you ran into her?

    17                     John Doe                      I don't remember.

    18     It was holding my dog while walking out.                          I don't

    19     know how hard,         how to judge that.

    20                     ROBERT YOST:          Well,    to knock someone

    21     off balance that usually takes more than just

    22     carrying a 50 pound dog.

    23                     John Doe                      That means I was

    24     over 200 pounds and we were both drinking so

    25     there was       --   the two of us also having an

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                                                                             Page 46

      1       argument,      we just walked into each other,                   I

     2        walked into her,          we were just        -- collided at the

     3        same time and she fell backwards.                     There was no

     4        intention for that to happen.                     She lost her

      5       balance and fell back,             that's all I        saw.

      6                      ROBERT YOST:          So you did see her fall

      7 :     back.

      8                      John Doe                      I saw her stumble

      9       backwards,       I did not see her fall and hit the

    10        ground.        So I know it's a difference between

    11        falling backwards and then falling down.                         I saw

    12        her fall back or stumble backwards but I never

    13        saw her fall and hit the ground.

    14                        ROBERT YOST:         I'm a little puzzled

    15        though why,       whether you're carrying a dog or not,

    16        given the circumstances you quote unquote bumped

    17        into somebody,       that you wouldn't have paused to

    18    1   at least check on them.

    19                       John Doe                      My dog was unleashed

    20        and he was squirming,             he was           in July he would

    21    1   have been six months old,               he was still a puppy

    22    i   and I had no leash on him and I was carrying him

    23        and he was       squirming and we collided.                  I didn't

    24        think that Jane           had any sort of damage to the

    25        point where that would require any kind of                           --   I

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     1       just didn't think that it would                       didn't think

     2       the collision was like that.

     3                      ROBERT YOST:          Okay.

     4                      WENDE FERGUSON:            So I'm going to follow

     5       up on the series of questions about the stumbling

     6       too,   because     --     and when you were talking about

     7       your dog.       So in your statement to us you're

     8       talking about,          you know,     your care for Jane

     9       But then in the statement here,                   you mention you

    10       didn't stop immediately after the collision

    11       because you didn't want your unleashed dog to get

    12       loose.

    13                      So I just want to understand -- yeah,                        I

    14   1
             want to understand your steps.                    Because in the

    15       statement it seems like you were more concerned

    16       about the dog getting loose than Jane                         falling.

    17       So why did --       again,      why didn't you look back or

    18       check on her to see if she was okay?
    19 ,                    John Doe                      I walked out and

    20       left with Nero in my arms,                I put him in the car

    21       and came back to check.               There was no --           I

    22       understand your questions and I can see how this

    23       would be difficult.
    24   I                  But I was concerned about her.                       I   loved

    25       her.     If that hasn't come off clearly,                     then I

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                                                                                Page 48

     1       haven't spoken clearly enough.                    I was worried

     2       about her and I didn't             -- never would I ever want

     3       to be the person who caused her any kind of

     4       uncomfort     -- dis--       I went back to check up on

     5       her,     I was worried about her.

     6                     I   left.      We had a disagreement about

     7       something I thought was one of the most important

     8       things in the relationship.                  I had not known she

     9       had a daughter.           I was leaving the house because

    10       she asked me to.

    11                     And when I left,            just because I left in

    12       an argument does not mean I don't care about her.

    13       I'm not sure where that --                I don't understand

    14       your logic and you're trying to test the words

    15       but I'm not

    16                     WENDE FERGUSON:            No,      I'm not     --    just to

    17       clarify.      I'm not trying to test your words or

    18       your level of care.             I'm just reading what the

    19,      statement     -- your statement that you said about

    2 O '    the dog.

    21                     John Doe                       It wasn't that I was

    22 :     more concerned about my dog.                   I do love my dog.

    23       Of course I was more concerned about Jane                              But

    24       I made that          I tried to,         you know,       check up and

    25       she had locked the door or the door was locked.
         L__ - ----
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      1                         WENDE FERGUSON:            Mm hmm.         And then also

      2           another follow up question about the garage door.

      3           So you mentioned that you had the code multiple

      4           times.       So why put your thigh,               leg,    whatever,

      5           underneath instead of using the code for the

      6           garage?

      7                         John Doe                         Because I really

      8 :         thought that      I had           I don't know,           the ability

      9 '         to get underneath that garage door before it

    10            closed.      There was      --    it's    --    the garage door,

    11            I'm not sure if the picture's provided --                           it's a

    12            double length garage door.                 It's a heavy garage

    13 '          door.

    14        1                  JOSE MAGALLON:            Page 18.

    15                          John Doe                         There you go.          To

    16        1   knock that off the track by punching it or

    17            kicking it would be I think a significant amount

    18            of power.       I ran into that door almost full speed

    19            as   I was trying to get underneath it,                         and I made

    20            contact with my right thigh,                   hit the ground and

    21            then went underneath it.

    22                           There was no kicking and punching and

    23    !       the door was locked,             and for anyone to have any

    24            other story about that             -- Jane         was not

    25    1
                  available,      she wasn't able to see what was going

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     1      on because that door was closed and she even

     2      admitted it was locked.

     3                       KELLY FREIBERGER:             I apologize for the

     4      interruption.          Tina at our front desk has texted

     5      me and said she's here.                  I don't know if she's

     6      referring to the witness or the complainant,                          so

     7      I'm going to pause briefly just to go out and

     8      check,      okay.     So it is       12:58.

     9                       (Break)

    10                       KELLY FREIBERGER:             I apologize for the

    11      brief interruption,              it is    12:59,    and it was the

    12      witness who returned.                So you can continue.

    13                       WENDE FERGUSON:           And just to clarify,

    14      because you stated something different here than

    15      what was in the investigation report so I want to

    16      make sure we have the most accurate information.

    17      Was it you or you and your mother that paid for

    18      the damages         -- or not the damages,             the damage and

    19      the medical bills?

    20                       John Doe                      It was me.       I

    21      borrowed money from my family and I had paid for

    22      it.      I mean eventually it came out of my pocket.

    23      I didn't have that kind of money up front.                          Most

    24      of my money is          --    I mean it's locked up in

    25      investments and what I did was sell some stock

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     1         that I had from when I had worked before I came

     2         to school to pay for that.

     3                     WENDE FERGUSON:             Okay.       And just so --

     4         you do realize that on page 10 you stated that it

     5         was you and your mother that offered to pay.

     6                     John Doe                       My mother paid it

     7 ,       and then I reimbursed her.
     8                     WENDE FERGUSON:             And why wasn't that

     9         information provided to the investigator?

    10                     John Doe                        I guess because it

    11         sounded to me like my mother and I paid for it

    12         because that's what happened,                I mean like,         the

    13         sequence of it.

    14                     JOSE MAGALLON:             Page we on?

    15                     WENDE FERGUSON:              Page 10 of the final.

    16                     JOSE MAGALLON:             Which paragraph?

    17     !               WENDE FERGUSON:             That is paragraph one,

    18         two,   three,   four,      five,    six.     Six.

    19                     John Doe                        And for the record,

    20         I never paid for the damages.                    I was never

    21         contacted about any of the damages.                    Jane       nor

    22         her father ever reached out to me to pay for any

    23 ,       damages.    Jane         was more concerned about the

    24     1   medical bills.           So I never paid for the garage.

    25         Was never asked to.            But I provided that I would,
                      ---------   ---



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                                                                                      Page 52

       1       I said that I would over the door.

       2                           WENDE FERGUSON:           Okay.         Any other

       3 '     questions from the panel?

      4                            ROBERT YOST:          so j us t    --    so John           it

       5   i   seems like as I'm processing all this,                            it seems

       6       like this whole thing is over the fact that you

       7       just found out that she had a daughter?

       8                           John Doe                      I can definitely

       9       elaborate on that.                  I hope that I can show you

     10        that      -- how much that meant.                  Jane       and I had

     11        spent the entire summer in Italy together and

     12        Greece,            and with my family at home.                 We had spoke

     13        about weddings,                planning trips,         and starting a

     14        family.

     15                            Jane       had told me that her daughter --

     16        which I knew she had only because of other people

     17        in school who had spoke about it,                           but when I

     18        asked Jane             about it she told me that it was a

     19        mistake that she had been trying to get away from

     20        her entire last 10 years of her life.

     21                            And I understood that,                that was not a

     22        problem.             It wasn't a problem that she had a

     23        daughter either,                because when I met Alexis a week

     24        later I loved her,                I had her over my house,                we

     25        spent the rest of the summer together.                             So the

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      1      argument wasn't over that.
      2                        It was over the fact that she had lied

      3      to me and she told me that the daughter was

      4      nowhere in her life.                And that         I was going to be

      5      a father.          I    --   that was something to me that I

      6      think should have been discussed in the

      7      relationship,            that she had a daughter who she had

      8      a relationship with and it wasn't a mistake.

      9                        I don't understand why she would try to

    10       hide that.             But this was a really important

    11       argument.         And in fact,          a week later I ended up

    12       meeting her daughter.                 So some sense of the

    13       argument made sense to us and we decided to take

    14       things to the next level.                   Wasn't the daughter

    15       that was the problem,                not at all.

    16                         ROBERT YOST:          No further questions.

    17                         WENDE FERGUSON:           Okay.         All right.     The

    18       panel will now hear from those                       --   I'm sorry.     The

    19       panel will now hear questions from Jane                          to

    20       John
    21                         KELLY FREIBERGER:             Right,      so I did just

    22       run out there but I am going to go out and check

    23       and make sure she's not arrived again just to be

    24       sure because this would be her next opportunity

    25       to be heard.             So I am going to go check quickly

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                                                                                       Page 54

      1       and see if she has arrived.                       It is    1:02.

      2                            (Break)

      3                           KELLY FREIBERGER:             All right,         I am

      4       starting the recording again,                      it is 1:03 and

      5      Jane        has not returned.

      6                           WENDE FERGUSON:           All right,           so,    during

      7       this time we would typically have questions from

      8       Jane       to John             but due to her absence there

      9       will be no questions.                   But we will go back to,                    at

    10        the request of the panel,                    for questions from the

     11       pane 1 to John

     12                           ROBERT YOST:          I apologize,        Madame

     13       Chair,        I just had one follow-up question.

     14       John               just for the record,           the page 31 material

     15       facts not in dispute,                 you agree that those facts

     16       are not in dispute?

     17                           John Doe                      Yes.

     18                            ROBERT YOST:         Okay,    thank you.

     19                           WENDE FERGUSON:           The panel will now

     20       hear from those witnesses who are identified for

     21       further questioning in a pre-hearing meeting.

     22                            KELLY FREIBERGER:            All right,         so that

     23       would be Betty Boe                        she is out in our waiting

     24       area,       so I'm going to pause the recording and go

     25       retrieve her.

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                                                                                Page 55

     1                   (Break)

     2                   KELLY FREIBERGER:             All right.               Starting

     3    the recording again,             it's 1:05 p.m.,               and I have

     4    Betty Boe            with me as the witness that the

     5    panel has called.             I'm going to ask that you

     6    state your name for the audio recording.

     7                   Betty Boe                 Yes,      Betty Boe

     8    Betty

     9                   KELLY FREIBERGER:              Thank you.              And for

   10     everyone to know before Wende takes over with the

   11     honesty statement,            the information that Betty                     has

   12     in front of her is from her meeting with Greg,

   13     and so it is page 166              in the appendix.

   14                    WENDE FERGUSON:            Okay,       Betty          I'm going

   15     to read to you the statement of honesty,                              and so

   16     we just ask that you agree to these terms.                                The

   17     University expects that all information presented

   18     here today is true and correct,                     please be advised

   19     that if anyone willfully provides false

   20     information he or she may be subject to

   21     disciplinary action as prescribed under the

   22 ,   University Disciplinary procedures.                            All

   23     participants should be aware that proceedings are

   24     considered confidential under applicable

   25     University polices and federal and/or state

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                                                                                Page 56

     1       statute.

     2                     Betty Boe                 Okay.

     3                     WENDE FERGUSON:            Okay.      Okay,         so now

     4       during this portion of the hearing we'll have

     5       questions     from the panel to the witness.

     6                     JOSE MAGALLON:            Betty      in your meeting

     7       with the investigator,             you mentioned that after

     8       you had noticed the bruises,                you had a

     9       conversation with Jane               and you mentioned,               and I

    10       quote,   that,    let's see,         which bullet.            There it

    11       is.   "That was almost a cry for help."                           Could you

    12       maybe walk us through what that was                      -- that

    13       encounter was like and why you thought it was a

    14       cry for help?

    15                     Betty Boe                 Sure.      So,    we were on

    16       this boating trip,           it was a class boating trip,

    17       and it was kind of coincidental that Jane                             and I

    18   1   had ended up on the boat,               just the two of us,

    19       everybody was out in the water,                   and I      --    for no

    20       reason in particular,             just that everybody was

    21       there and she and I were sitting on the boat,                              and

    22       she was in a bikini,            so everything was very

    23       obviously seen.

    24                     I just           I think when someone has

    25       those bruises on her arms and her back,                           I think

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     1     wearing something that revealing is,                         to me,

     2      obviously she knows people can see them.                             So,    I

     3      don't know.         I mean,        she didn't say anything

     4      about them,       but to me I think someone who wears

     5      something that revealing in a --                      to that public

     6      of an event,        that social of an event with 30

     7     people around that could have seen or asked,                                it

     8      just seemed like there was,                   you know,          she left it

     9      available for somebody to ask questions,                            I think.

    10                      JOSE MAGALLON:            And then you mentioned

    11     you all were alone for like 15 minutes,                             and so

    12     you had this conversation,                  could you walk us

    13      through?        I know it's been a while,                  but what you

    14      remember from the             --   specifically the encounter

    15      that happened at Jane's                 father's house.              Do you

    16      recall any specific details of how that happened?

    17                      Betty Boe                 Oh,    no I don't have

    18     very many details about that.

    19                      JOSE MAGALLON:            Okay.       Do you recall

    20      what she        -- what she did share,               outside of what

    21     might not be in the notes?

    22                      Betty Boe                 Honestly there's

    23      nothing more than what was in the notes.                             I told

    24      Greg everything that we talked about,                            just that,

    25      I mean it's        --   I didn't really give him any

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    1     details,       and Jane         and I aren't that close,               so I

    2     never really followed up details about that,                               so.

    3                      JOSE MAGALLON:            All right,        thank you.

    4                      Betty Boe                 Mm hmm.

    5                      ROBERT YOST:          Betty             is it possible

    6     for you to describe the bruises that you saw?

    7                      Betty Boe                 Again,      this is since

     8    last July.

     9                     ROBERT YOST:           Sure.

   10                      Betty Boe                 I will      say I noticed

   11     though,        there were two kind of on the back of her

   12     arms,    it     --   I don't remember exactly what they

   13     looked like,           but I remember that they were both -

   14     - on both sides,             as if she had grabbed --

   15     somebody had grabbed her or she had been pushed

   16     against something and used her arms to brace

   17     herself.         I just noticed that those were odd to

   18     me,   that they didn't seem like,                     you know,      that

   19     would happen if you just accidentally fell or

   20     bumped your elbow into something.                        And then I

   21     noticed one on the lower back,                       also.       I don't

   22     I mean,        I don't have --          I don't remember too much

   23     about it,        but    I just remember those three.

   24                      ROBERT YOST:           The    --    if you can recall,

   25     the ones on the elbow.

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     1                      Betty Boe                 Mm hmm.

     2                      ROBERT YOST:           Did they -- were they

     3       like,   finger mark kind of bruises or

     4                      Betty Boe                 I couldn't tell you.

     5                      ROBERT YOST:           -- do you remember?

     6                      Betty Boe                 I couldn't tell you,

     7       I'm sorry.

     8                      ROBERT YOST:           No,    that's fine.           That's

     9       fine.     That's all         I have.

    10                      WENDE FERGUSON:              Okay.

    11                      JOSE MAGALLON:            Can I?

    12                      WENDE FERGUSON:              Yes.

    13                      JOSE MAGALLON:            Do you --        so,     as you

    14       were interacting with Jane                   that day,          do you

    15       remember anything else in terms of physical

    16 '     things that might have been odd?

    17                      Betty Boe                 No,     I don't think so.

    18       I don't recall anything other than those --

    19       noticing the bruises on her elbow and then when I

    20           I mean it's here,            but when I asked her about

    21       it she just said he's not a good person.                            That he

    22   1
             had done that to her.

    23                      JOSE MAGALLON:            Thank you.

    24                      Betty Boe                 Mmm .

    25                      WENDE FERGUSON:              Any other questions

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                                                                                 Page 60

      1        from the panel?           All right.            I think so -- at
      2        this point we'll move to questions from John                                to
      3        the witness,       and John            you are able to ask her

      4        directly the questions.
      5    I                 John Doe                          Okay.      Did you ever
      6        speak with Jane           about this Title IX matter

      7        before your interview with the investigator in

      8        this case?

      9                      Betty Boe                 No.
    10                       John Doe                          Did you ever speak
    11         with Ms.     Doe             and --     about this Title IX

    12 ,       matter before your appearance at this hearing

    13         today?
    14                       Betty Boe                 No.
    15                       John Doe                          Have you ever

    16         personally witnessed any physical interactions
    17         between me and Ms.           Doe            ?

    18                       Betty Boe                 No.
    19                       John Doe                          Do you per -- did

    20         you ever personally witness any of the events
    21         that Ms.     Doe             is alleging occurred in this
    22         matter?

    23                       Betty Boe                 No.
    24                       John Doe                          What is your
    25         understanding of when Jane                  and I ended our

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                                                                                    Page 61

     1      relationship?

     2                       Betty Boe                 The only thing she

     3      discussed was when she came to the boating trip

     4      by herself,         and I had just said oh,                  I thought you

     5      were going to come with John                        and she said no,              we

     6      broke up.         And left it at that.                 I don't know

     7      much more than that.

      8                      John Doe                        All right.             Did

      9     Jane      ever inform you that her and I continued to

    10      date and discussed marriage into October?

    11                       Betty Boe                 No.

    12                       John Doe                        Did Jane          claim that

    13      I restricted her wardrobe during a trip to Italy?

    14                       Betty Boe                 Yes.

    15                       John Doe                        What did she say?

    16      What restrictions did she say I placed on her?

    17                       Betty Boe                 She had mentioned that

    18      there was a short dress that she was wearing or

    19      was going to wear and that you didn't want her to

    20      wear that.

    21                       John Doe                        Ms.   Doe                 told

    22      you that she received bruises when I allegedly

    23      pushed her down a laundry chute?

    24                       Betty Boe                 I   --    1 ike I      --    I'm

    25      going to mention to him,                 I don't remember exactly

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                                                                                       Page 62

      1          what she said about the bruises on her arms,                                but

      2          that you had been involved.

      3                        John Doe                        Okay,    but just to

      4          follow up,     you did mention that Jane                       told you

      5 '        that     I pushed her down a          laundry chute and she

      6          used her elbows to brace herself?

      7                        Betty Boe                 That's what I remember

      8          her saying about it.

      9                        ROBERT YOST:           May I just        --      the notes

    10           don't say that.           They say pushed her into a

    11           laundry chute.

    12                         Betty Boe                 Yeah,      she -- yeah.

    13 '                       ROBERT YOST:           Not down that laundry

    14           chute.

    15                         John Doe                        Okay,    into a laundry

    16           chute.

    17                         Betty Boe                 Yeah,      and she had used

    18           her elbows and that's what was                    -- that's why she

    19           had them on both sides.

    20                         John Doe                        Okay.      Have you ever

    21               spoken to me about what had happened that night?

    22                         Betty Boe                 No.

    23                         John Doe                        And when         - -    so last

    24           question.      When you were out on the boats with

    25           Ms.    Doe           did she engage in physical
            'L ---
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                                                                             Page 63

     1     activity?         Did she swim?

     2                      Betty Boe                 I don't remember if she

     3     got in or not.

     4                      John Doe                       Okay.

     5                      Betty Boe                 I only spoke with her

     6     on the boat.           I don't really remember if she got

     7      in or not.

     8                      John Doe                       Okay.     So that's all

     9      I have.

    10                      ROBERT YOST:           Okay.

    11                      John Doe                       Thank you.

    12                      Betty Boe                 Mm hmm.

    13                      WENDE FERGUSON:            At this time we would

    14     have questions from Jane                    the complainant,          but

    15     we will not be having --

    16                      KELLY FREIBERGER:              Right,    Jane     has

    17      still not returned.

    18                      WENDE FERGUSON:            Okay.

    19                      KELLY FREIBERGER:              So,   we will move

    20      forward.

    21                      WENDE FERGUSON:            Okay,     so panel at this

    22      time I'm going to ask if we should retain the

    23     witness.

    24 ,                    ROBERT YOST:           I don't see any reason

    25      to.

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                                                                                    Page 64

      1                        JOSE MAGALLON:          No.

      2                        WENDE FERGUSON:          Okay,      no.        Thank you

      3       so much.

      4                        KELLY FREIBERGER:             All right,         I'm going

      5       to pause recording and escort her out,                           it is

      6       1:14.

      7                        (Break)

      8                        KELLY FREIBERGER:             All right,         it is

      9       1:15PM,      we are back.

    10                         WENDE FERGUSON:          Okay,      so now would be

    11        the opportunity for the panel to have the

    12        opportunity to ask questions of Greg,                           the

    13        investigator,        so we'll open it up for questions

    14        from the panel.            I do have a question,                 Greg.      Why

    15        on --     sorry.     On the charges,             specifically the

    16        materials facts in dispute,                  can you explain to us

    17        your rationale for including items that were in

    18        dispute specifically about the complainant?

    19    !                    GREG KUESTER:         I'm not sure I

    20        understand the question.

    21                         WENDE FERGUSON:           So,     right.        So,    this

    22        case is specifically about the respondent.

    23                         GREG KUESTER:         Mm hmm.
    24 ,                       WENDE FERGUSON:          But in the charges,                   in

    25        the facts disputed there were                    -- there was

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                                                                      Page 65

     1     information about what was in dispute

     2     specifically about the complainant's story.                       So,

     3    why --

     4                    GREG KUESTER:      Could you give me an

     5     example?

     6                    WENDE FERGUSON:       So,      where the

     7     complainant attacked respondent by striking his

     8     left shoulder with her left arm,                where the

     9     complainant threw a flower vase towards

   10      respondent as he laid in bed,              and this is on page

   11      32 at the top.       And so,     just want to understand

   12      why those two were significant in

   13                     GREG KUESTER:      When a party says

   14      something happened on one night,                and then a

   15      separate party comes in and says,                no,     that's not

   16      what happened at all,          it was completely

   17      different,      you know,     what the first party says is

   18      relevant for obvious reasons,              those are the

   19      allegations.        But the second party has a right to

   20      say,    you know,    their side of the story.              And I

   21      think when somebody says,           such as John          in this

   22      case,    he said no,    not       that didn't happen,             but

   23      instead she assaulted me that night,                   that's a

   24      very specific allegation.            And I think it's an

   25      opportunity for him and both parties to put their
                                                                                      --- _I


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                                                                                   Page 66

      1       stories together and allow the fact                           finder to

      2       determine exactly what happened that night.

      3                          WENDE FERGUSON:               All   right.

      4                          GREG KUESTER:           And I       think that's an

      5       important piece.

      6                          John Doe                        May I have a moment

      7       to respond?

      8                          WENDE FERGUSON:               No.

      9                          GREG KUESTER:           Did that answer your

     10   1
              question?

     11                          WENDE FERGUSON:               That does.

     12                          GREG KUESTER:           Okay.

     13                          WENDE FERGUSON:               Thank you.

     14                          GREG KUESTER:           Was there anything else

     15       in there that           --     with regard to the complainant

     16       that why I put that                in there?

     17                          WENDE FERGUSON:               Nope,   those were the

     18       two I had.

     19                          GREG KUESTER:           Okay.

     20                          JOSE MAGALLON:            I    forget     if this      is a

     21       part later on in the                 --   so please        feel      free to

     22       stop me if          it's a question that comes up later

     23       on.

     24                          WENDE FERGUSON:               Okay.

     25                          GREG KUESTER:           Let me just             interrupt

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                                                                        Page 67

     1     one more time.         One additional            fact that makes

     2     it,    I think relevant here,          is Jane        did say on

     3     multiple times that she had very vague memory of

     4     that night.

     5                      WENDE FERGUSON:       Okay.

     6                      GREG KUESTER:      So,    when somebody says

     7     hey,    I have a vague memory but also I'm going to

     8     make an allegation,          I think anything that anybody

     9     else in that room,         and in this case it was only

    10     John     has to say,      I think is relevant.

    11                      WENDE FERGUSON:       All right.

    12                      GREG KUESTER:      Yeah.

    13                      JOSE MAGALLON:       Greg,      was there any

    14     information shared today with regard to this

    15     specific incident in the                  between the garage

    16     and the inside of the house that was different

    17     than when you're initially met with Jane                       or

    18     John
    19                      GREG KUESTER:      With respect to John

    20     his story has been consistent.                    But what he said

    21     today was what he told me.                Jane       I'm trying to

    22     think.          I'm trying to remember what she said

    23     today,     she hasn't said much.             I don't think there

    24     was any inconsistencies with                      the way that John

    25     described it was what he told me.

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      1   I                     JOSE MAGALLON:        Okay.

      2                         GREG KUESTER:       And if       I can --      is this

      3       my opportunity to ad lib a little bit?

      4                         WENDE FERGUSON:        So,      no.    No.

      5                         GREG KUESTER:        All right.

      6                         WENDE FERGUSON:        So,      a follow-up

      7       question to that.

      8                         GREG KUESTER:        Yeah.

      9                         WENDE FERGUSON:        Were there any other

     10       things besides just the garage situation that was

     11       different         --   that was stated today that was

     12       different then the           -- when you spoke with the

     13       respondent or complainant?

     14                         GREG KUESTER:        No.     I haven't seen

     15       anything different.             In fact,       when it        -- when I

     16       met with Jane             she told me that she was struck

     17       on the way in when John              was coming in,            and when I

     18       met with John                  said that contact happened on

     19       the way out.

    20                          WENDE FERGUSON:        Got it.

    21                          GREG KUESTER:        So,   those were both

    22        consistent.

    23                          ROBERT YOST:       So Greg,       since it was

    24        mentioned,         did she   -- Jane         say anything about

    25        this laundry chute thing to you?                        Do you remember

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                                                                                 Page 69

       1       anything about how she                 -- did she describe

       2       anything about the

       3                             GREG KUESTER:      So,    yeah,    I can answer

       4       that question.              Jane      said it was       --   she fell in

       5       the laundry room.

       6                             ROBERT YOST:      The laundry room.

       7                             GREG KUESTER:      The word chute only

       8       comes from Betty's                 testimony,    and keep in mind,              I

       9       interviewed Betty              sometime in the neighborhood of

     10        February of              '19 about an incident that she had

     11        heard about secondhand in the summer of                          '18,     and

     12        she used the word chute,                 and I've done these

     13        investigations a long time,                    and I can tell you

     14        that my mind immediately said that that was just

     15        a mistake in words for her.                     She's remembering

     16        eight-month-old testimony from somebody she heard

     17               she - - and I         suspect that Jane           described the

     18         laundry room and for some reason in those eight

     19        months,              she used the word chute.           That would be

     20 I      my opinion on it              -- where the chute came from.

     21                              ROBERT YOST:      Mm hmm.       Did Jane       say

     22        anything about the bruising that was in

     23 ,      Betty's                  statement?     Did she mention anything

     24        about bruising to you?

     25                              GREG KUESTER:      Did Jane        say that?

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                                                                              Page 70

     1                         ROBERT YOST:         Yeah.

     2                         GREG KUESTER:         Yeah,      Jane        shared

     3     information about bruising,                    and she provided the

     4     pictures of the bruising that are                           in that

     5     (indiscernible).

     6                         ROBERT YOST:          I'm trying to find that

     7     page.      Oh,       there    it   is.     Page 24.

     8                         GREG KUESTER:         Yeah.

     9                         ROBERT YOST:          I'm sorry,         thank you,         I

   10      did forget           that was       in there.

   11                          GREG KUESTER:         And there's one

   12      additional picture                 in the appendix as well.                 I

   13      don't know if           it's helpful,           used to it though,

   14      with the most helpful,                   and these are also            --   I

   15      was able to timestamps off of those to show they

   16      were taken on two different days.

   17                          WENDE FERGUSON:            What page?

    18                         GREG KUESTER:          The appendix one            is   in

   19      page    11,     on the report            it's page 24.            And to

   20      follow-up on your question about the bruising,

   21      Jane            I    remember Betty         said something about

   22      the bruising on the arms,                   and I don't believe

   23      Jane      ever mentioned bruising on the arms and I

   24      was not provided pictures of bruising on the

   25      arms.

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      1                        ROBERT YOST:          That's what I was trying

      2      to determine.           This is just a close-up of the

      3      back,      it's not the elbow.

      4                        GREG KUESTER:          This      --   I believe this

      5      is her lower right back.

      6                        ROBERT YOST:          Lower right back.            Okay.

      7      Yeah,      when I     look at that now I can see the

      8      consistency there,              yeah.

      9                        GREG KUESTER:          Mm hmm.

    10                         ROBERT YOST:          Thank you.

    11                         WENDE FERGUSON:           Any other questions

    12       from the panel?

    13                         ROBERT YOST:          Yeah.

    14                         WENDE FERGUSON:           Okay.        So now will be

    15       the opportunity for Jane                   to ask questions of

    16       Greg.

    17                         KELLY FREIBERGER:             Yes,     and it is 1:23.

    18       I have still not received word of Jane's                            return,

    19       so we can move forward.

    20                         WENDE FERGUSON:            So,     we will move

    21       forward to questions from John                          to Greg.     And

    22       you're able to ask these directly to him.

    23                         John Doe                      Did you ask Jane

    24       for her complete medical records,                        including

    25       records that reflected what she told the doctor?

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      1                        GREG KUESTER:          Yes,    I asked for - -

      2     yeah,      complete medical records,                  yes.

      3                        John Doe                      And what was the

      4      response?

      5                        GREG KUESTER:          I believe it was an

      6      email request and I did not receive an email back

      7      from her.

      8                        John Doe                      Did she say why

      9      complete medical records were not provided?

    10                         GREG KUESTER:          Yes and no.             So,    I asked

    11       for her complete medical records,                       let me clarify

    12       the first question.                I think I asked for them

    13       twice.           I asked for them in my initial meeting

    14       with her,          'cause I     felt they would be relevant,

    15       and in that meeting,               she agreed to provide them.

    16       I received an email back,                  and I can check the

    17       date if you'd like me to,                  but I received an email

    18      back from her,            I want to say a few days later

    19       saying that those were in Zionsville,                            she didn't

    20       feel like going to Zionsville,                       it would take her

    21       a long time with the traffic.

    22                         And I believe I made a follow-up

    23       request afterwards,               saying hey,        you know,          I think

    24       I might have written back and said hey,                            well next

    25       time you go up,              maybe you can get them.                   She has

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      1       family in Zionsville.                  And I think I made a

      2       follow-up request later on,                     maybe a month later,

      3       saying hey,          have you had the opportunity,                    and I

      4       did not receive a response.

      5                          John Doe                      Did you ever inquire

      6       if either Jane                or I   suffered from any mental

      7       health issues,           and if either of us were on

      8       medications during the events?

      9                          GREG KUESTER:          I do not ask that,            no.

    10                           John Doe                      Would you

    11        characterize this as a delayed report?

    12                           GREG KUESTER:          I don't know what that

    13        means.

    14                           John Doe                      It's not immediate,

    15        so would you say that this was                           report was

    16        given after --            some time after the actual

     17       allegation was made,                 or that the alleg -- the

     18       date of the actual allegations?

     19                          GREG KUESTER:          Well,       I think that

    20        speaks for itself.

    21                           John Doe                      Mm hmm.

    22                           GREG KUESTER:          I mean I don't know if

    23        that's any information I have privy.                              I mean,

    24        there were allegations that took place over the

     25       course of 2018 and the reporting,                        it was first

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     1      reported to the School of Medicine I believe in

     2      October of       '18,      and it was reported to our office

     3      through them,         and then I think our office first

     4      got in touch with Jane                prior to me working here,

     5      so I can't comment on that,                  and then I got in

     6      touch with Jane             and that date is in here,              I

     7      think it was in November.

     8                      So,   to characterize as delayed or not

     9      would not be for me to say.                   The dates speak for

    10      themselves.

    11                      John Doe                      Did you ever take

    12      any steps to speak with Jane's                      father?

    13                      GREG KUESTER:          Yes.

    14                      John Doe                      And what were the

    15      results?

    16                      GREG KUESTER:           I asked to speak with

    17      her father initially in the --                     in my first

    18      interview with her,             and at that time the

    19      investigation was early on and they -- wasn't

    20      sure if he was a necessary witness,                     but I

    21      identified him as somebody that might be helpfu

    22                      She indicated to me that she was

    23      reluctant,       and I remember him -- her saying

    24      something to the effect of,                  he might just take

    25     John        side.      And I didn't know what that meant

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      1       and I think --        I'm trying to remember what she

      2       said.      It was    --     I got the sense,              and this is

      3       just my opinion,           Jane      didn't directly say this,

      4       but I got the sense that he may have been in a

      5       relationship similar to what you and her were in,

      6 i     and that for that reason that he might have taken

      7       the male side is what she put.

      8                       John Doe                          Okay.

      9                       GREG KUESTER:             So,     I made a --        so,    that

    10    1
              was the first request.                I made a second request

    11        again,     in an email,           and I    said,       I'd like to speak

    12        with your father,            and that        --     I was    --    I didn't

    13        get a response to that email.

    14                        John Doe                          Okay.      Were you

    15        aware that Jane            was seen outside my apartment

    16        after this       investigation had begun?

    17                        GREG KUESTER:             You provided a

    18        photograph of her in a car outside of the --                                a

    19        window that you said was your apartment,                             yes.

    20                        John Doe                          Why did you not tell

    21        me about the gun accusation when you interviewed

    22        me?

    23                        GREG KUESTER:             So,     the gun accusation

    24        is not something that the University elected to

    25        investigate.

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                                                                              Page 76

      1                      John Doe                       Mm hmm.
     2                       GREG KUESTER:            And when we don't elect

      3       to investigate something,                 then that information

     4        is redacted from the report.
      5   i                  John Doe                        If it needed to be

      6       redacted,      then why was it included in the report?
      7 '                    GREG KUESTER:            You mean why was it

      8       included in the appendix the second time around?

      9                      John Doe                        Yeah,    like why was

    10        it   --   if it needed to be not in --                  redacted to

    11        the point where no one can see it

    12                       GREG KUESTER:            Uh huh.

    13 i                     John Doe                        Why include it in

    14        the report at all?

    15                       GREG KUESTER:            Okay,       as opposed -- you

    16        mean,     why did I       --   so,     that's a University policy

    17        here,     is that we --          IU,    and I worked it for other

    18        colleges,      so I can just say not every school does

    19        this,     but we put everything into the report.

    20,       Into the appendix.              And part of that information

    21        is the -- my notes from everybody I                      interview.

    22        And when I      interview people,              I oftentimes,

    23        especially in early stage in the investigation,                            I

    24        get information and I inquire about things that I

    25        don't know if they're relevant yet.

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                                                                               Page 77

      1                        John Doe                     Mm hmm.

      2                        GREG KUESTER:          And that was not one

      3       that was like that,             that was one she just

      4       volunteered.

      5                        John Doe                      Mm hmm.

      6                        GREG KUESTER:          And again,       I don't know

      7       if it's relevant at that point,                     I put everything

      8 ,     down.       I don't make a determination in the moment

      9       of   --   as whether it's relevant or not.                      So,   the

    10        process here is to put that in the end,                         and then

    11        we take things out that are not relevant or

    12 ,      prejudicial,         confidential.

    13                         John Doe                      And one more

    14
          1
              question regarding that.

    15                         GREG KUESTER:          Yeah.
    16 '                       John Doe                      Do you think I

    17        should have had an opportunity to respond to that

    18        allegation?

    19                         GREG KUESTER:          No.     If the U --        it's

    20        not uncommon for colleges and universities to

    21        hear about something and choose not to

    22        investigate it,             and the responding party would

    23        not have known about it.
    24    I                    John Doe                      Are you aware of any

    25        instance where I communicated with Jane                          after we

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     1      broke up?         After we stopped talking in October?

     2                       GREG KUESTER:          I don't like that

     3      question,        because I've read through all the text

     4      messages that's provided,                 and there's not a clear

     5      breakup time.          Would you agree with that?

     6                       John Doe                      For the most part,

     7      yes.        There was a conversation about it.

     8                       GREG KUESTER:          But I agree to what

     9      Jane        said earlier,        and that is if she agrees

    10      then yeah,        I mean,      but I don't          --    I think that

    11      the breakup time is in dispute,                      there.

    12                       John Doe                      Okay.       There were      --

    13      it's not about saying who broke up with who,                           it's

    14      more about saying,             it's sort of               we almost said

    15      the conversation happened,                 and then basically

    16      that signaled the end of the relationship.                           Like

    17      we decided not          --    right,     'cause we had the

    18      conversation on a Friday,                 and then on Sunday,

    19      that was the last time we ever spoke.

    20                       GREG KUESTER:          Mm hmm.

    21                       John Doe                      So,       that was just

    22      the    --

    23                       GREG KUESTER:          Yeah

    24                       John Doe                      Okay.       Did you ask

    25      Jane        if she was willing to take a lie detector

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      1     test like I did?

      2                       GREG KUESTER:          No.

      3                       John Doe                      Did you get to speak

      4     with -- okay,            we already answered that question.

      5     Earlier,         Jane     told the panel that she went to

      6     the hospital that night,                 is that what she told

      7     you?

      8                       GREG KUESTER:          She told me she went the

      9     following day,            but I don't know if she's

    10      referring to -- because the incident I think the

    11      encounter at your -- her father's house happened

    12      after midnight.

    13                        John Doe                      Mm hmm.

    14                        GREG KUESTER:          So,    I don't know --         I

    15      didn't pick up on what she said,                      no.

    16                        John Doe                      I think the question

    17 ,    that was asked might have been ambulance that

    18 :    night and she responded that yes,                         she went in an

    19 i    ambulance after the - - after it happened.

    20                        GREG KUESTER:          That's      --    I don't

    21      remember her saying that.

    22                        WENDE FERGUSON:            I don't remember her

    23'     saying that,            either.

    24                        ROBERT YOST:          I don't remember that,

    25      either.          I thought the question was ambulance

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      1       would go to the hospital.

      2                        KELLY FREIBERGER:            Right,     I think that

      3       it was ambiguous as to which of those two.

      4                        John Doe                      Okay.

      5                        KELLY FREIBERGER:             It was did you

      6       either go to the hospital or summon an ambulance.

      7                        John Doe                      Okay.

      8                        KELLY FREIBERGER:             Yeah.

      9                        John Doe                      Did you ever --

    10        Greg,     did you ever find out if any repairs were

    11        attempted to the garage or if                   it was moved prior

    12        to the photo being taken?

    13                         GREG KUESTER:          Did I ever find out what

    14        now?

    15                         John Doe                      Did you ever -- my

    16        question if that garage door had been moved or

    17        tried to be fixed by her dad,                   for instance,

    18        before the picture of it was taken?                       Because it

    19        was taken the next day.

    20                         GREG KUESTER:          Right.

    21                         John Doe                      Did you ever ask her

    22        if it had been moved or tried to be fixed by her

    23        dad?
    24                         GREG KUESTER:          I don't remember if I

    25        asked her that.
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       1                                John Doe                      Okay.      Could the

       2       bruise that we see,                     the bruise that she offered

       3   i   pictures of,                 be the result of say a doorknob if

       4       she had fallen back into the door?                                Just the

       5       general             --    the position of it.

       6                                GREG KUESTER:          I'm in no better

       7       position to answer that then anybody else.

       8                                John Doe                      Okay.     And lastly,

       9       would you say that I have treated you with

     10        respect throughout this process?

     11                                 GREG KUESTER:          Yes.

     12                                 John Doe                      Okay.      That's all

     13        the question I have for Greg,                           thank you.

     14                                 WENDE FERGUSON:             All right.         So,   now

     15        we're going to move into summary statements.                                        Any

     16        other questions?

     17                                 ROBERT YOST:          No,    not a question,          but

     18        just again for the record,                           because the gun thing

     19        has come up again.

     20                                 WENDE FERGUSON:             Mm hmm.

     21                                 ROBERT YOST:          So,    I think it's

     22        important for us to reiterate that that

     23        information was redacted in the information the

     24        panel received and we had no knowledge of it

     25        prior to it being heard today.

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     1                      WENDE FERGUSON:          Correct.         So,    the

     2      panel had no knowledge of the redacted

     3      information,        and that      --   the information that was

     4      presented here today from the respondent is

     5      considered new information,                  which was allowed by

     6      the Chair.        Okay.       With that,       we're moving into

     7      summary statements.             At this time,          each party may

     8      make brief summary remarks.                   This is not the

     9      opportunity to restate your full case,                         rather

    10      these remarks should briefly summarize the points

    11     you wish the panels to consider in response to

    12      the investigation report and the information

    13      shared here today.             And so,       we'll start with you,

    14     John

    15                      John Doe                      Okay,    I did prepare

    16      a much shorter version of the opening that kind

    17      of goes through points that                  I'd like to read.             I

    18      appreciate the time everyone has taken to review

    19      this information.             There's a lot of information

    20      for you to review and digest.                     There are five

    21      disputed facts that bring us here today.                          To be

    22      clear,     never in the relationship did I ever raise

    23     my hand to her or never did I intend to or cause

    24     her emotional or physical harm.

    25                      The facts in dispute originated from

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      1      two separate dates,          June 2018,          I did not hit

      2      Jane       or do anything to her that resulted in a

      3      bruise to her face.            Jane     did hit me during this

      4      argument twice,          and she admitted to pushing me as

      5      well.       Jane      did throw a flowerpot at me during

      6      this argument.           July 2018,      the other undisputed -

      7      - the other disputed facts include I did not

      8      intentionally damage the garage door.                        I had

      9      forgotten about my dog and tried to make it under

    10       the closing door,          and I did not intentionally

    11       cause Jane           physical harm when I was carrying my

    12       50 pound puppy,          squirming dog and trying to get

    13       out of the house.

    14                          There were no witnesses to each of

    15       these events,          and this has become a question of

    16       credibility and a he said/she said dilemma where

    17       this panel must determine if there is enough

    18       evidence to support that I am more likely than

    19       not responsible for the allegations in violation

    20       of the sexual misconduct policy.                    It is my hope

    21       that everything that has been provided thus far

    22       will be taken into context and consideration when

    23       evaluating these allegations.

    24                          When this began,      I never saw this

    25       process ending up here,               and I never had any

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      1       intentions of revealing private matters or

      2       personal information.               I have done my best to

      3       place myself in the shoes of those who are

      4       assigned to listen to the details of this

      5       investigation and hearing,                and I believe that I

      6       needed to bring up personal matters to assist you

      7       in credibility to determination.                        For the record,

      8       I was not given a chance to provide these points.

      9                         The information I have provided showed

    10        Jane       had other motives for filing this complaint

    11        and has issues that negatively impact her

    12        credibility.             Viewing the events that Jane                            had

    13        brought forward in the context of our overall

    14    1   relationship provide a strong support against

    15        Jane's        version of events and offer light into

    16        the reality of the ups and downs that plagued our

    17    i   partnership,         to which we both contributed.

    18                          For instance,       on November 12th,                      I

    19        punched the wall away and out of Jane's                                     sight

    20        and afterwards drove her home.                      Throughout the

    21        next week,        Jane      and I planned a trip to

    22        Nashville for Thanksgiving,                  and the night before

    23    1   we left Indianapolis,             Jane       got in her boxing

    24 ,      stance and punched that same wall,                         laughing and

    25    1
              enjoying herself,            telling me she wanted to know
                                                                 - -- --------   ----   ---~


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     1     what it felt like.              The picture of this wall is

     2     in the appendix and you can see both Jane                            and my

     3     marking on the wall.

     4                       The morning after,           December 18th,         2017

     5     after our argument regarding the dangers of

     6     seeing her ex-boyfriend on the street,                          we made a

     7     romantic breakfast together in bed and one week

     8     later,     Jane          flew down to Florida to meet my

     9     family and spend the holidays together.                           The next

    10     day after Jane             and I broke up in May of 2018,

    11     she admitted to using another gentleman to make

    12     me jealous and get back at me,                      but we both

    13     decided that our relationship was worth a second

    14     chance.

    15                       Two weeks later, Jane               flew to New York

    16     to spend the summer with my family and travel to

    17     Europe to explore Italy and Greece.                        After our

    18     argument in Milan,             Italy in June of 2018 after

    19     she hit me and threw a flowerpot at my head,                            we

    20     continued our trip without any quarrels,                          and one

    21     week later while on rooftop on the Amalfi Coast

    22     of   I ta 1y ,    Jane     proposed to me with a makeshift

    23     ring and a promise that the rest of our lives

    24     would be more than perfect.

    25                       Two days after an argument when we

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                                                                                  Page 86

     1      collided when -- with one another in July of 2018

     2      at her father's house,               Jane          asked me to go look

     3      at two-bedroom apartments together with both her

     4      father and father's girlfriend's encouragement.

     5      Less than one week later,                   Jane       invited me to a

     6      local park in Zionsville where I met her

     7      daughter,         Alexis,     for the first time.                   Alexis,

     8      Jane        and I     spent the rest of the summer

     9      together spending multiple nights at each other's

    10      apartments.

    11                         I've cooperated with every request and

    12      recommendation made by both IUPUI and Indiana

    13      University's School of Medicine.                          Jane's

    14      allegations were very general and broad and

    15      difficult to defend against,                       but I did my best to

    16      show you these allegations are false.                               I have

    17      provided specific dates and context for each and

    18      every incident.             I have provided evidence of

    19      Jane's           erratic behavior and roller coaster of

    20      emotions.           I have provided pictures surrounding

    21      some allegations.              I have provided you with a

    22      letter from my therapist that I began to see

    23      before these allegations were made,                           and for which

    24      I plan to continue with to help learn and grow

    25      from this experience.

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      1                        I have provided a digital voice stress

      2     analysis,          better known as a lie detector,              to help

      3     support the general allegations.                    I have provided

      4     an alcohol and anger evaluation that dis

      5     demonstrates no issues with alcohol or anger.                           I

      6     have provided details of a suspicious timeline

      7     that includes the end of a relationship and the

      8     beginning of an investigation.                   I have provided

      9     text messages and audio,             which is not being

    10      submitted,          or being heard today,         it   -- detailing

    11      Jane's           intense discriminatory jealousy of

    12      another female medical student,                  as well as my

    13      dog.

    14                         I have provided text messages that

    15      reveal Jane's           disapproval that she and I had to

    16      be in the same environment and classes together

    17 :    after our breakup,          showing she was hurt by the

    18      breakup.           I have provided evidence of Jane's

    19      behavior after each and every one of these

    20      events,          indicating that she was never afraid or

    21      fearful for her safety,             and her own actions,

    22      physical and verbal,           make that clear that she was

    23      not afraid of me.

    24                         I have also provided information that

    25      Jane      had her own apartment to go to if she ever

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      1      felt like she needed to get away during any point

      2      in the relationship.            There is sufficient

      3      evidence to establish that Jane                  and I were

      4      involved in an unhealthy and complicated

      5      relationship.          And that we both acted poorly at

      6      times,      but    I hope you decide there is

      7      insufficient evidence to establish that I am

      8      responsible for the allegations.                  I hope that it

      9      is clear that I am not,            and will never be,          any

    10       kind of safety threat or problem for Jane                         I

    11       have not contacted her since October 25th.

    12                         After her first complaint,          I never

    13       reached out to her,          because I have realized that

    14       everything that has come out of this relationship

    15       is unhealthy.          No contact order or not,            I made

    16       the choice to move on,           and I want nothing further

    17       to do with this issue.             We existed with no

    18      problems during the three months after our

    19      breakup as classmates with no interactions and no

    20       conversations,         and no reaction from me to any of

    21       the gossip that she spread about me.

    22                         This is a painful memory for the both

    23       of us,      and this pro     -- entire process has made a

    24       serious impact on my life.                It has been a

    25       tremendous learning experience,                 working with a

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                                                                                      Page 89

      1       therapist and with continuing therapy,                                I am

      2       confident that I will never have a relationship

      3       like this again,                   because I know it was unhealthy

      4       and I have examined the root causes and have

      5   1   gained the knowledge and tools to understand how

      6 ,     this            --   to avoid a relationship like this in the

      7       future.
      8   !                          I hope that this panel does not find me

      9   i   responsible based on everything I have provided.

     10 i     I am willing to participate in any training that

     11       you believe will help me become a better

     12       professional,                    and a strategy to navigate through

     13       medical school with Jane                         where we both can focus

     14       on medical school.                      I'm happy to provide more

     15       information if the panel deems it appropriate.

     16       And for the record,                     I was not permitted to ask

     17       questions outside of my allotted time.

     18                              WENDE FERGUSON:             I'm sorry,         I want to

     19       get clarification.                      So,   you talked about -- the

     20       last portion about questions.

     21                              John Doe                       Mm hmm.

     22                              WENDE FERGUSON:             So,     I want to make

     23       sure that we're on the same page

     24                              John Doe                       I asked before if I

     25 ,     can respond to Greg,                     and he had said - - and I              --
                 ----------   - -------- ---

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      1           you had said            I had asked if this was the

     2            correct time to ask a question.

     3                         WENDE FERGUSON:            Mm hmm.

     4                         John Doe                      And you said no,
      5'          it's not.

      6                        WENDE FERGUSON:            Right,     during that

     7            portion of questions,           because that was the

      8           panel's opportunity to ask questions.                       But then

     9            we moved into your opportunity to ask questions,

    10            and that was your portion of the time to ask any

    11            and all questions that you had.

    12                         John Doe                      I'm sorry,        I didn't
    13,           --   okay.

    14                         WENDE FERGUSON:           And so,      I want to make

    15        1
                  sure,   because what you just stated was a

    16            procedural    issue that you're stating,                and so,      as

    17            a Chair and the person who's doing the procedure,

    18            I want to make sure you're not stating that I'm

    19            not giving you the opportunity to ask questions.

    20                         John Doe                      I'm sorry,        I had no

    21 ,          idea about the procedure and how it worked.

    22    1                    WENDE FERGUSON:           Mm hmm.
    23 ,                       John Doe                      Misunderstanding,            I

    24    1
                  apologize.

    25                         WENDE FERGUSON:            So,     can you restate

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                                                                               Page 91

      1       that for the record of what

      2                         John Doe                      For the record,        I

      3       claimed that I was not available to ask -- not

      4       did not have the ability to ask certain questions

      5       during a time,          but it was only during that time

      6       specific that          I was not able to ask questions.

      7                         WENDE FERGUSON:           Okay,      thank you.      So,

      8       now we'll move into summary statements from

      9       Jane
     10                         KELLY FREIBERGER:            Jane      still has not

     11       returned.          I've not received word from Tina.                       I

     12       do feel it's necessary to take a brief pause just

     13       to verify that,              and make sure she truly has not

     14       returned before we move onto the conclusion.

     15                         WENDE FERGUSON:            Okay.

     16                         KELLY FREIBERGER:             So,    it is 1:42,     I'm

     17       just going to pause the recording real fast.

     18                         (Break)

     19                         KELLY FREIBERGER:             All right.       So,   I've

    20        returned,         it's 1:44.         I did go ahead and call

    21        Jane       again,     she has not returned and she did not

    22        answer the phone.               I left another message,             but we

    23 '      can go on.

    24    1                     WENDE FERGUSON:            So,     at this point

    25        we'll move to the conclusion.                        This concludes the

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                                                                      Page 92

     1      fact-finding portion of this hearing.                    The panel

     2      will now move into the closed deliberations where

     3      we will review the information presented in the

     4      hearing and we will consider each charge under

     5      the code of student rights,             responsibilities,        and

     6      conduct and the IU sexual misconduct policy.                     The

     7      panel will then render a decision based on the

     8      preponderance of the information presented here

     9      today.
    10                      If a preponderance exists that John

    11      did in fact violate the code and/or the policy in

    12      the manner described in the investigation report,

    13      then a finding will made as such.                The panel may

    14      also consider any previous violations of the code

    15      and/or policy by John            when considering the

    16      sanctions to be assigned.             The panel will assign

    17      appropriate sanctions after consideration of all

    18      these factors,       and at this time I'll ask the

    19      coordinator to explain the process to review the

    20      notice of outcome of hearing.

    21                      KELLY FREIBERGER:        Yes,   so as today

    22     we're going to move to closed deliberations.

    23      Once a decision is made I will be helping to

    24      craft that outcome letter.              It will be sent to

    25     both you and to the complainant via email to your

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                                                                               Page 93

      l       IU email account.             And we're hopeful to get that

      2       out as soon as possible,              but it may not be

      3       tonight.        So,   I just want to make sure that we
      4       kind of manage expectations with that.                          We're
      5       going to get it to you as soon as we can.                           Okay?
      6                       John Doe                      Okay.
      7                       KELLY FREIBERGER:             Yeah,    I think that's
      8

      9                       WENDE FERGUSON:           Okay.
    10                        KELLY FREIBERGER:             Yeah.
    11                        WENDE FERGUSON:          John         and Jane         are

    12        reminded that the outcome of today's hearing may

    13        be appealed directly to Dr.                  Jason Spratt,        Dean of
    14        Students.        You each will have five calendar days

    15        from the date of the outcome letter to submit a
    16        written appeal.            The Office of Student Conduct

    17        will be able to provide you additional
    18        information on the process of appeal.                          If you

    19        have questions,            I encourage you to contact the

    20        Office of Student Conduct.                   I thank you for your
    21    1   participation and all present parties,                         excluding

    22        members of the panel,             you all are free to go.

    23                        JOSE MAGALLON:          Thank you.
    24                        KELLY FREIBERGER:            All right.          So,    it
    25        is 1:47 and I am stopping the recording.

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    1                       C E R T I F I C A T I O N
    2

    3     I,   Sonya Ledanski Hyde,          certify that the
    4     foregoing transcript is a true and accurate
    5     record of the proceedings.
    6

    7

    8



    9

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   12     330 Old Country Road
   13     Suite 300
   14     Mineola,      NY 11501
   15

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            [03 - allow]                                                                                                  Page 1

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        '----   ---   ------

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        ' 03       11 :18
                                          '
                                               86:1                                accidentally 32:5          advisor 2:25 3:3
                               1
                - -- ----   ----   -- -    '2019 1:14 2:12                            32: 17 58: 19         3 :23,25 4: 16 34:5
        !    10 39:16 40:21                , 26:9                                   account 19:25           38:9
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             100 28:6                      : 2021 28:5                              accurate 50: 16    : afforded 3 :21
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                                             25th 27:9 88: 11                         37:22 75:21,23   I aggressively 25:18
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